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 7 RICARDO SILVA

 8
                                        UNITED STATES DISTRICT COURT
 9
                                      NORTHERN DISTRICT OF CALIFORNIA
10

11
                                                                 Case No. 3:23-mc-80119
12
                                                                 (Originating Case: Silva v. Doe 1, et al., S.D.
13                                                               Fla. 1:22-cv-24262-RKA)

14 IN RE: SUBPOENA TO REDDIT, INC.                               DECLARATION OF ADAM STOLZ IN
                                                                 SUPPORT OF PLAINTIFF RICCARDO
15                                                               SILVA’S MOTION TO COMPEL THIRD-
                                                                 PARTY REDDIT, INC. TO RESPOND TO
16                                                               SUBPOENA

17                                                               Date: TBD
                                                                 Time: TBD
18                                                               Judge: TBD
                                                                 Ctrm.: TBD
19

20             I, Adam Stolz, declare as follows:
21             1.         I am an attorney at law who is licensed to practice in the State of Florida. I am a
22 member of the law firm Lash Goldberg LLP, which serves as limited co-counsel for Riccardo

23 Silva (“Plaintiff” or “Mr. Silva”) in a lawsuit currently pending in the United States District Court

24 for the Southern District of Florida under Case No. 1:22-cv-24262-RKA (“Florida Lawsuit”). The

25 Florida Lawsuit addresses an elaborate defamation and harassment campaign against Mr. Silva

26 involving numerous false, defamatory, extreme and outrageous statements published across a

27 website, Twitter.com, Reddit.com, and a mobile billboard, as detailed in the Complaint, and which

28 statements remain publicly available on said platforms, including Reddit.com. Attached hereto as
     3036.000/1838225.2                                      1                                                     _
                               STOLTZ DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION TO
                                 COMPEL THIRD PARTY REDDIT TO RESPOND TO SUBPOENA
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 1 Exhibit 1 is a true and correct copy of the Complaint filed in the Florida Lawsuit.

 2             2.         In the Florida Lawsuit, I have responsibility for discovery requests to certain non-

 3 party entities, including Reddit, Inc. (“Reddit”), and therefore have personal knowledge of the

 4 facts set forth herein and could and would competently testify under oath in a court of law if called

 5 upon to do so. I make this Declaration in support of Plaintiff’s Motion to Compel Third-Party

 6 Reddit to Respond to Subpoena, filed concurrently herewith.

 7             3.         Pursuant to this Court’s Civil Local Rule 37, I have met and conferred on numerous

 8 occasions with counsel for Reddit, John Roche, Esq., regarding Reddit’s objections to Plaintiff’s

 9 subpoena for documents and information from Reddit regarding the identity of the user(s) or

10 subscriber(s) who own(s) and operate(s) the Reddit handle or account, u/SOSilva7 (the “Handle”),

11 given the false and defamatory statements published by “John Doe 2” (and potentially other

12 Defendants) on Reddit’s platform under the Handle.

13             4.         On February 10, 2023, I issued a subpoena to Reddit (the “Initial Subpoena”) for

14 discovery sought in connection with the Florida Lawsuit. Attached hereto as Exhibit 2 is a true

15 and correct copy of the Initial Subpoena.

16             5.         On February 15, 2023, Reddit responded to the Initial Subpoena with numerous

17 written objections. Attached hereto as Exhibit 3 is a true and correct copy of Reddit’s

18 correspondence to my firm objecting to the Initial Subpoena.

19             6.         Two days later, on February 17, 2023, I had a telephonic conference with Mr.

20 Roche to discuss Reddit’s objections, and we were able to clarify and dispense with several of

21 those objections. Nevertheless, a few remained, including Reddit’s objection on First Amendment

22 grounds.

23             7.         On February 23, 2023, I followed up via email with Mr. Roche asking whether

24 Reddit was willing to reconsider its position of non-compliance, advising “we have no other way

25 of obtaining the information and require it for the limited purposes of service and identification so

26 the proper individual(s) can appear before the court and participate in the [Florida] litigation.”

27             8.         On February 27, 2023, Mr. Roche responded via email with a substantially

28 narrowed set of objections. Still, he advised that Reddit was unwilling to compromise on its First
     3036.000/1838225.2                                     2
                              STOLTZ DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION TO
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 1 Amendment objections and “will need a court to find that any proposed discovery from Reddit

 2 satisfies the First Amendment standards enumerated in Reddit’s February 15th objections.”

 3 Additionally, due to circumstances no longer at issue, Reddit objected that the case had been

 4 stayed and administratively closed in the Southern District of Florida based on a (misunderstood)

 5 filing by defendant Mobile Billboards, and that the Court would need to re-open and lift the stay

 6 for discovery to proceed against service providers such as Reddit. Further, Mr. Roche advised

 7 that, even upon the stay being lifted, Reddit requests that another subpoena be issued “that

 8 resolves Reddit’s objection as to the place of compliance being in Tallahassee and its objection as

 9 to the vague scope of the request.”

10             9.         On February 28, 2023, Plaintiff filed in the U.S. District Court for Southern District

11 of Florida an “Unopposed Motion to Re-Open Case,” which detailed Plaintiff’s diligent efforts to

12 identify the anonymous John Does (see ECF Dkt No. 23, at pages 1-2, ¶¶ 4-6) and requested the

13 case be reopened because even if able “to resolve the claims against Defendant Mobile Billboards,

14 ‘the dispute’ continues as to the four John Doe Defendants,” (id., at page 3, ¶ 11), advising that

15 “Plaintiff has yet been unable to serve the John Does with process, as explained supra, despite his

16 diligent efforts to date” (Id., at page 3, ¶ 12). Attached hereto as Exhibit 4 is a true and correct

17 copy of “Plaintiff Riccardo Silva’s Unopposed Motion to Re-Open Case” referenced above (ECF

18 Dkt No. 23).

19             10.        On March 1, 2023, I informed Mr. Roche via email that “the court has already

20 re-opened the case and lifted the stay,” and detailed a proposal to mutually resolve Reddit’s

21 revised set of objections.

22             11.        On March 6, 2023, Mr. Roche advised via email that Reddit was still unwilling to

23 comply with the third-party discovery request unless: (1) the subpoena was re-issued with a place

24 of compliance within 100 miles of Reddit’s headquarters in California; and (2) Mr. Silva

25 adequately demonstrated there was no reasonably alternative means of obtaining the requested

26 discovery.

27             12.        During the course of my work on this case, I gained familiarity with and knowledge

28 about the extensive efforts undertaken by Mr. Silva to identify the Doe Defendants in the Florida
     3036.000/1838225.2                                     3
                              STOLTZ DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION TO
                                COMPEL THIRD PARTY REDDIT TO RESPOND TO SUBPOENA
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 1 Lawsuit, which included subpoenaing multiple third parties and engaging a private investigator,

 2 all of which are now a matter of public record as detailed in the Florida case filing described above

 3 (ECF Dkt No. 23).

 4             13.        On March 30, 2023, I responded via email to Mr. Roche to advise that “we still

 5 have been unable to obtain the necessary information regarding the [Doe] defendant’s identity

 6 from another source and are constrained to renew our request that Reddit provide it.”

 7             14.        The next day, on March 31, 2023, I telephonically met and conferred again with

 8 Mr. Roche in an effort to resolve Reddit’s objections. In sum, to accommodate many of Reddit’s

 9 objections, I agreed to request California counsel to issue a new subpoena for documents and

10 information with a place of compliance in San Francisco, California that featured a modified scope

11 (the “Subpoena”). In exchange, Reddit narrowed and dispensed with several objections.

12             15.        On March 31, 2023, I emailed counsel for Mobile Billboard, Inc.—the only

13 defendant in the Florida Lawsuit whose identity is currently known to Mr. Silva—to provide

14 notice and a copy of the subpoena to be served on Reddit, who in turn confirmed in writing that

15 Mobile Billboards, Inc. did not object to the Subpoena. Attached hereto as Exhibit 5 is a true and

16 correct copy of that email correspondence.

17             16.        All other defendants in the Florida Lawsuit are “Doe” Defendants whose identities

18 are unknown at this time.

19             17.        Attached hereto as Exhibit 6 is a true and correct copy of the Subpoena issued on

20 March 31, 2023 to Reddit, which is the subject of Mr. Silva’s pending Motion to Compel against

21 Reddit.

22             18.        On April 4, 2023, Mr. Roche sent me an email attaching Reddit’s written

23 objections to the Subpoena, advising that he would notify the user via email that same day of the

24 Subpoena, as he had previously done for the Initial Subpoena. Attached hereto as Exhibit 7 is a

25 true and correct copy of the transmittal email and Reddit’s second objection letter.

26             19.        On April 7, 2023, I engaged in another telephonic meet-and-confer with Mr. Roche

27 to attempt to resolve Reddit’s objections. Following the meet-and-confer, I sent a letter to counsel

28 for Reddit in a final effort to mutually resolve the dispute concerning the requested discovery and
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                              STOLTZ DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION TO
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 1 provide additional detail concerning Plaintiff’s efforts to identify the anonymous defendant(s)

 2 responsible for the defamation campaign, advising, “Mr. Silva is unable to obtain the requested

 3 information from another source and has in fact exhausted attempts to obtain the discovery

 4 elsewhere before serving the Subpoena on Reddit.” Attached hereto as Exhibit 8 is a true and

 5 correct copy of my April 7, 2023 letter to Mr. Roche (sent via email).

 6             20.        On April 10, 2023, Mr. Roche confirmed Reddit was satisfied that Plaintiff had

 7 demonstrated the requested discovery could not reasonably be obtained from another source and

 8 sent an email advising “I can confirm that from Reddit’s perspective any motion to compel that

 9 your client may file in NDCA would be limited to having the Court resolve the First Amendment

10 issue.”

11             21.        On April 11, 2023, I replied to Mr. Roche via email and advised that it seemed we

12 had exhausted our extensive meet-and-confer efforts with respect to Reddit’s First Amendment

13 objection and that further efforts would be futile.

14             22.        Attached hereto as Exhibit 9 is a true and correct copy of the email chain

15 containing the meet-and-confer correspondence described above between myself and Mr. Roche,

16 counsel for Reddit, for the time period of February 15, 2023 – April 11, 2023.

17             23.        To date, Reddit has not produced any discovery requested in the Subpoena.

18

19             Under penalties of perjury under the laws of the United States of America, I declare that I

20 have read the foregoing statement and it is true and accurate.

21
               Executed on this 19th day of April 2023 in Miami, Florida.
22

23                                                                     By:     /s/ Adam J. Stolz
                                                                                      Adam J. Stolz
24

25

26

27

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     3036.000/1838225.2                                     5
                              STOLTZ DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION TO
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                                    UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA

    RICCARDO SILVA,
              Plaintiff,
    vs.
    JOHN DOE 1 (OWNER(S) OF WEBSITE
    SOSSILVA.ORG);                                                                 Case No.: 1:22-cv-24262-RKA

    JOHN DOE 2 (OWNER(S) OF REDDIT
    USERNAME @SOSILVA7);

    JOHN DOE 3 (OWNER(S) OF TWITTER
    HANDLE @SOSSILVA7);

    JOHN DOE 4;

    MOBILE BILLBOARDS, INC.,

              Defendants.


                                                            COMPLAINT

            Plaintiff Riccardo Silva (“Silva”), hereby sues Defendants John Doe 1, John Doe 2, John

   Doe 3, and John Doe 4, all of whom may be a single person or may be more than one person (the

   “John Doe Defendant(s)”), and Mobile Billboards, Inc. (the “Mobile Billboard Defendant,” and

   together with the John Doe Defendant(s), the “Defendants”) and alleges:


                                                             INTRODUCTION

            1.         This case involves a defamatory campaign waged by the John Doe Defendant(s),

   with the assistance of the Mobile Billboard Defendant, against Mr. Silva, a successful

   businessman, a philanthropist, and a devoted husband and father, which campaign was designed

   to damage Mr. Silva both personally and professionally by publishing false and outrageous

   accusations of criminality against him.



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            2.         The purpose of this defamatory campaign is unknown to Mr. Silva, as the John Doe

   Defendants have hidden their identity or identities, but the campaign was designed to cause—and

   has in fact caused—grave damage to Mr. Silva and his family.

            3.         Indeed, the Defendants sent a mobile billboard around South Miami Beach during

   the weekend of Miami Art Basel featuring a large photo of Mr. Silva’s face with text knowingly

   falsely accusing Mr. Silva of being a “predator.” Mr. Silva was in Miami at the time with his wife

   and children, and his seventeen-year-old son saw the billboard. This has, not surprisingly, caused

   devastation to Mr. Silva and his family.

            4.         The mobile billboard directed viewers’ attention to Twitter and Reddit pages,

   created by the John Doe Defendant(s), which contain additional knowingly false and defamatory

   statements. The John Doe Defendant(s) have also created a website that includes still more

   knowingly false and defamatory statements and accusations against Mr. Silva.

            5.         The Defendants have caused and are continuing to cause grave damage to Mr. Silva

   by publishing this knowingly false and defamatory material accusing Mr. Silva of criminal and

   deviant conduct. Mr. Silva and his family are in fear of their safety and security as a result of the

   Defendants’ harassment and defamatory campaign.

                                               JURISDICTION AND VENUE

            6.         The Court has subject matter jurisdiction over this case because the amount of

   damages sought by Mr. Silva, exclusive of any attorney’s fees, costs, and expenses, exceeds

   $75,000.

            7.         This Court has personal jurisdiction over each of the Defendants in that, at all

   relevant times, they (a) resided in Florida and/or (b) committed tortious acts in Florida.

            8.         Venue is proper in this District under 28 U.S.C. §§ 1391(b)(1) and/or 1391(b)(2)


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   because at least one of the Defendants reside in this District and all Defendants are residents of

   Florida, and/or because a substantial part of the events giving rise to the below claims occurred in

   this District.

                                                           THE PARTIES

            9.         Mr. Silva is an individual whose domicile is London, United Kingdom. Mr. Silva

   owns a condominium in South Miami Beach.

            10.        Defendant John Doe 1 is the owner of the website sossilva.org. Upon information

   and belief, John Doe 1 resides in the State of Florida. John Doe 1 committed the tortious acts

   described herein in the State of Florida. Notably, as the allegations infra show, John Doe 1 may

   be one or more individuals and may be the same individual as John Doe 2, 3, or 4.

            11.        Defendant John Doe 2 is the owner of the Reddit username @SOSilva7. Upon

   information and belief, John Doe 2 resides in the State of Florida. John Doe 2 committed the

   tortious acts described herein in the State of Florida. Notably, as the allegations infra show, John

   Doe 2 may be one or more individuals and may be the same individual as John Doe 1, 3, or 4.

            12.        Defendant John Doe 3 is the owner of the Twitter handle @SOSSilva7. Upon

   information and belief, John Doe 3 resides in the State of Florida. John Doe 3 committed the

   tortious acts described herein in the State of Florida. Notably, as the allegations infra show, John

   Doe 3 may be one or more individuals and may be the same individual as John Doe 1, 2 or 4.

            13.        Defendant John Doe 4 is the individual who hired the billboard from the Mobile

   Billboard Defendant. Upon information and belief, John Doe 4 resides in the State of Florida. John

   Doe 4 committed the tortious acts described herein in the State of Florida. Notably, as the

   allegations infra show, John Doe 4 may be one or more individuals and may be the same individual

   as John Doe 1, 2, or 3.

            14.        The Mobile Billboard Defendant is a Florida corporation with principal offices in
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   Parrish, Florida, and is duly authorized to conduct business in the State of Florida. The Mobile

   Billboard Defendant offers mobile billboard services—i.e., a billboard that is placed on the rear of

   a motor vehicle and is observable by other motorists and pedestrians. The Mobile Billboard

   Defendant committed the tortious acts described herein in the State of Florida.

                                                 FACTUAL BACKGROUND

            15.        Mr. Silva is a husband, a father, and a renowned businessman and investor. He

   owns the investment company, Silva International Investments, an investment company that

   manages and invests in various sectors—media, technology, sports, entertainment, the arts, and

   real estate, to name a few. He also owns the model and talent agency, Select Model Management.

   In addition, he is the president and co-owner of the American professional soccer team, Miami FC,

   and an investor in and co-owner of AC Milan, one of the most successful soccer teams in the

   world.

            16.        Mr. Silva is a devoted philanthropist, as well. He donates substantial time and

   money to various causes. He has made significant donations across a range of projects in Europe,

   Africa, and the United States (particularly, Miami, Florida), including to Florida International

   University (“FIU”), Mount Sinai Medical Center, Gulliver Schools, St. Stephen’s Episcopal Day

   School, the Bass Museum of Art, the New World Symphony, Play for Change, The Foundation

   for AIDS Research, Elton John AIDS Foundation, the Novak Djokovic Foundation, Movimiento

   Shalom, and the Bali Street Kids Project. In recognition of Mr. Silva’s contributions to FIU and,

   more generally, to the city of Miami, FIU named its football and soccer stadium—Riccardo Silva

   Stadium—after him.

            17.        Mr. Silva is an upstanding, law-abiding citizen. And yet, to his shock, the

   Defendants have recently set forth a damaging campaign against him, designed to damage him


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   personally and professionally by accusing him of conduct that is categorially false. Specifically,

   the Defendants have falsely accused Mr. Silva of serial sexual abuse and sexual harassment,

   bribery, and other falsely alleged conduct. Outrageously, the Defendants have falsely compared

   Mr. Silva to the likes of Jeffrey Epstein.

            18.        Each and every one of these accusations against Mr. Silva is knowingly false—

   fabricated by the Defendants to damage and destroy Mr. Silva’s personal and professional life.

            19.        Mr. Silva seeks compensatory and punitive damages resulting from the harm that

   the Defendants’ defamatory campaign has caused him and will continue to cause him.

                                                              The Website

            20.        John Doe 1 created the website sossilva.org (the “Website”) on September 8, 2022.

            21.        The Website contains only the following accusations:




            22.        Each and every one of these accusations made by John Doe 1 on the Website against

   Mr. Silva is knowingly false, defamatory, and extreme and outrageous.

                                                      The Reddit Campaign

            23.        John Doe 2 created the Reddit username u/SOSilva7 on September 8, 2022—the

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   same day the Website was created.

            24.        Throughout October 2022, u/SOSilva7 made the following post (the “Reddit

   Posts”) across several Reddit forums, including r/NYC, r/Miami, r/Florida, r/Chicago, r/Illinois,

   r/London, r/metoo, r/Modeling, r/sexualassault, r/TwoXChromosomes, r/abusesurvivors,

   r/emotionalabuse. Together, there are roughly 16.1 million members in these Reddit forums:

            “TW- my story of abuse and harassment.

            Hello All,

            I was in the industry for years and left after the incident I’ve described below.
            Currently, my goal is to make aspiring models and others interested in the industry
            aware that this behavior occurs and is far more commonplace than most think.
            Everything here happened to me and unfortunately was experienced by several
            people.

            A few years ago, I began working with Select Model Management. They had (and
            objectively have) a decent reputation in a industry where we all pretty much realize
            it is only a matter of time until we experience something creepy, unwelcomed or
            downright horrible.

            Over the course of my work, I interacted with Riccardo Silva. He’s European
            (Italian I think) and married. Extremely wealthy. Multiple businesses and
            everything you’d expect. We were at several events together and he was always
            surrounding himself with my colleagues, other women from other agencies or just
            women in general. His vibe was . . . neutral but hostile? If that makes sense? Not a
            huge change from most in the industry, so I really just went about my work.

            Over time, I saw him at other events more frequently, we made small talk and that
            was about it. One time he touched my shoulder with unusual force, but I didn’t
            think much of it. Then he started reaching out. This was unsettling, because I
            certainly didn’t expect it and while the agency had all of my info, you don’t expect
            someone who is essentially your boss to reach out socially.

            It went from a normal, ‘hey, how are you’, and got weird immediately after. Asking
            me what I liked sexually. Telling me his body count and who specifically in our
            agency that he slept with. The ‘obvious benefits’ of me sleeping with him. My brain
            just blanked. I didn’t really respond initially. This had happened so often before at
            other places, and a quick ‘fck off!’ usually helped, but not with a person at this level
            and not there. I just didn’t know what to do.

            He kept it up, it became almost an everyday thing. I started to respond and tell him

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            this made me uncomfortable. He ignored it every time. When I saw him, he’d touch
            me and say things under his breath. If I was talking to other men, he’d interject
            himself into the conversation. All the while, he kept harassing me. I mentioned it
            to other people and they’d shrug, or nod, share their experience and tell me to stay
            as far away from him as possible. It made me physically sick. I lost weight, lost
            interest in a lot of things. One of the worst parts was seeing him present this image
            to the outside world that he was a good guy, pictures with his family playing soccer,
            art donations, etc. Meanwhile, he tormented me at the same time.

            He ramped it up and got angry. If I wouldn't sleep with him on my own, I'd ‘do it
            for money, of course’ Constant propositions, across phone, text, dm, etc. Shaming
            me. Saying he’d destroy me. Destroy my career. Shame my family, especially a
            family member that was very ill at the time. All the things I feared, however
            irrational, he pushed on and made me feel like shit. It came to a head when I saw
            him for the last time and he grabbed me so hard on my arm it left bruises. Told me
            he ‘wasn’t interested in trash like me’, that he just wanted to toy with me, that I
            wasn’t pretty enough anyway.

            I quit. Soon after, a flood of people reached out to me, sharing their experiences,
            which were identical to my own in some cases, and far, far, far worse in others. He
            harassed, intimidated, and violently abused several women. He abused his position
            of power to abuse others.

            My life was pretty beautiful, and it still is, but despite therapy and wonderful family
            and friends, Riccardo’s harassment and abuse changed who I am, and how I interact
            with people in every part of my life.

            It made me harder, but I’m determined to use that to help others. To make people
            like him know that they can't treat people like that and to call that abuse out for
            others.

            If you have experienced anything like this, I send you strength and love. Thank you
            all for reading.”

            25.        In December 2022, John Doe 2 created and assigned itself as the moderator of the

   Reddit forum r/SOSSilvaSurvivors (the “Reddit Forum”).

            26.        In the Reddit Forum, u/SOSilva7 made the following post:




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            27.        Each and every one of these accusations made by John Doe 2 on Reddit against Mr.

   Silva is knowingly false, defamatory, and extreme and outrageous.

                                                      The Twitter Campaign

            28.        In September 2022, John Doe 3 created the Twitter account @SOSSilva7, which is

   based out of Miami, Florida, as the account’s Twitter page shows.                                         The biography reads:

   “Survivors Of Silva- The survivors of sexual violence and intimidation at the hands of Riccardo

   Silva of Select Model Management/Silva International Investments”:




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            29.        On December 3, 2022, John Doe 3 posted a five-tweet thread, tagging media

   entities, such as the Miami Herald, Miami New Times, and Miami Beach News, along with the

   Twitter account for the international arts festival, Art Basel, which is located in Miami, Florida.

   The thread contained similar defamatory and false accusations to those made by John Doe 1 on

   the Website and by John Doe 2 on Reddit:




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            30.        Like the false accusations against Mr. Silva on the Website and on Reddit, John

   Doe 3’s accusations of grotesque conduct against Mr. Silva on Twitter are knowingly false,

   defamatory, and extreme and outrageous.

                                              The Mobile Billboard Campaign

            31.        In or around December 2, 2022, Defendant John Doe 4 purchased a mobile

   billboard (the “Billboard”) from the Mobile Billboard Defendant.

            32.        Defendant John Doe 4 hired the Mobile Billboard Defendant to drive around the

   location of Mr. Silva’s condominium he owns in South Miami Beach on Saturday, December 3,

   2022, which was the weekend of Miami Art Basel, one of the busiest weekends of the year in

   Miami Beach.
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            33.        On the Billboard, the Defendants falsely accused Mr. Silva of being a “predator on

   the loose in Miami.” Observers of the Billboard are further directed to the above-referenced

   Twitter handle, @SOSSilva7, and Reddit Forum, r/SOSSilvaSurvivors:




            34.        The Defendants’ accusation that Mr. Silva is a “predator” is knowingly false,

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   defamatory, and extreme and outrageous. And, as alleged supra, the accusations against him on

   Twitter and Reddit are knowingly false, defamatory, and extreme and outrageous.

            35.        The Mobile Billboard Defendant knew or should have known the accusations

   against him were false or, at least, the Mobile Billboard Defendant recklessly disregarded the

   falsity of the accusations.

            36.        Mr. Silva’s seventeen-year-old son witnessed the truck driving around the

   neighborhood of Mr. Silva’s South Beach condo. He was devasted to see his father portrayed in

   this way. This has caused extreme emotional distress to Mr. Silva and his family.

            37.        Mr. Silva has suffered damages as a result of the Defendants’ knowingly false,

   defamatory, extreme and outrageous, and injurious campaign against him. In particular, Mr. Silva

   has suffered, and will continue to suffer, monetary damages, including in connection with his

   reputation and business interests, and severe emotional distress. In addition, Mr. Silva fears for

   his and his family’s safety and security, given the defamatory and harassing campaign against him.

            38.        All conditions precedent to the maintenance of this action have occurred, been

   performed, complied with, or waived.

                                           COUNT I: DEFAMATION (LIBEL)
                                               (Against All Defendants)

            39.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 38 above.

            40.        The Defendants published to millions of third parties knowingly false, defamatory

   statements of and concerning Mr. Silva on the Website, Twitter, Reddit, and the Billboard, as

   outlined supra.

            41.        The Defendants knew that said statements of and concerning Mr. Silva were false,

   recklessly disregarded the falsity of said statements, and/or were negligent as to the falsity of said

   statements.

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            42.        As a result of the Defendants’ wide publication of the above false statements, Mr.

   Silva has suffered damages, including without limitation, monetarily, to his reputation, and to his

   business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

                                    COUNT II: DEFAMATION (LIBEL) PER SE
                                            (Against All Defendants)

            43.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 42 above.

            44.        The Defendants published to millions of third parties knowingly false, defamatory

   statements of and concerning Mr. Silva on the Website, Twitter, Reddit, and the Billboard, as

   outlined supra.

            45.        Those false, defamatory statements charged that Mr. Silva committed infamous

   crimes and/or felonies, including without limitation, sex crimes and bribery. In addition, the false,

   defamatory statements subject Mr. Silva to hatred, distrust, ridicule, contempt, and/or disgrace.

   Finally, the false, defamatory statements harm Mr. Silva in his many business ventures articulated

   supra.

            46.        Accordingly, Mr. Silva has suffered damages, including without limitation,

   monetarily, to his reputation, and to his business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.




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                          COUNT III: DEFAMATION (LIBEL) BY IMPLICATION
                                        (Against All Defendants)

            47.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 46 above.

            48.        Mr. Silva asserts Count III in the alternative to Counts I and II.

            49.        To the extent that one or more of the Defendants’ statements on the Website,

   Twitter, Reddit, and/or the Billboard, which were published to millions of people, are determined

   to be true, all resulting suggestions, impressions, and/or implications that Mr. Silva engaged in any

   criminal or deviant misconduct are false.

            50.        The false suggestions, impressions, and/or implications that Mr. Silva engaged in

   any criminal or deviant misconduct have caused serious harm to Mr. Silva.

            51.        Accordingly, Mr. Silva has suffered damages, including without limitation,

   monetarily, to his reputation, and to his business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

              COUNT IV: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                (Against All Defendants)

            52.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 51 above.

            53.        The Defendants engaged in extreme and outrageous conduct, including without

   limitation, by setting forth an internet and billboard campaign to falsely accuse Mr. Silva of

   heinous, criminal conduct—being compared to the likes of Jeffrey Epstein. Engaging in a

   campaign to publish knowingly false and defamatory accusations of the most grotesque order goes

   beyond all possible bounds of decency and such ruthless attacks are intolerable in a civilized

   society.


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            54.        The Defendants engaged in such extreme and outrageous conduct with the intent to

   ruin Mr. Silva’s personal and professional life, and thus to cause him severe emotional distress.

            55.        At the very least, the Defendants’ extreme and outrageous conduct was done with

   reckless disregard to the probability of causing Mr. Silva severe emotional distress.

            56.        Mr. Silva has suffered severe emotional distress, and will continue to suffer severe

   emotional distress, as a result of the Defendants’ extreme and outrageous conduct. In addition, the

   mobile billboard was seen by Mr. Silva’s seventeen-year-old son, a likely, and indeed intended,

   consequence of having the mobile billboard driven outside of Mr. Silva’s condominium. Mr.

   Silva’s son was extremely distraught by what he saw, which has caused Mr. Silva severe emotional

   distress at the damage this defamatory publication has inflicted on his entire family.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

                  COUNT V: INJUNCTION – STALKING, § 784.0485(1), FLA. STAT.
                                  (Against All Defendants)

            57.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 56 above.

            58.        The Defendants have willfully, maliciously, and repeatedly harassed Mr. Silva

   through their harassment and defamatory campaign against him, both online and in person.

            59.        Mr. Silva has suffered severe emotional distress, and will continue to suffer severe

   emotional distress, as a result of the Defendants’ campaign. In addition, Mr. Silva and his family

   have suffered from grave concerns to their safety and security as a result of the Defendants’

   harassment and defamatory campaign.

            60.        The Defendants’ harassment and defamatory campaign serves no legitimate

   purpose, as it is based on knowing falsehoods.

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            61.        Mr. Silva has a clear legal right to not be harassed and defamed in violation of the

   law.

            62.        There is no adequate remedy at law for the further violation of this right,

   necessitating this Court’s intervention to enjoin the Defendants from continuing their campaign.

            63.        Should the Court fail to permanently enjoin the Defendants from continuing their

   campaign, Mr. Silva will continue to suffer severe emotional distress and he and his family will

   continue to be in grave fear for their safety and security.

            WHEREFORE, Mr. Silva demands an order permanently enjoining the Defendants from

   continuing their harassment and defamatory campaign, and such other relief as the Court deems

   just and proper.



            Dated: January 4, 2023                                Respectfully submitted,

                                                                  By: /s/ Joshua M. Mandel

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                                                                  Miami, Florida 33131
                                                                  Telephone: (305) 579-0570
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                                                                  FLService@gtlaw.com

                                                                  Counsel for Plaintiff Riccardo Silva


                                                                      17
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            EXHIBIT 2
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                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      Southern District of Florida
                    RICCARDO SILVA
                                                                       )
                          Plaintiff                                    )
                             v.                                        )    Civil Action No. 1:22-cv-24262-RKA
                                                                       )
             MOBILE BILLBOARDS, INC., et al.,
                                                                       )
                         Defendant                                     )

                         SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
      To:                                  REDDIT, INC.
               c/o CORPORATION SERVICE COMPANY, 1201 HAYS STREET, TALLAHASSEE, FL 32301

        Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
 party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
 or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
 these matters:

  Place:                                                                     Date and Time:
            119 S. Monroe St., Suite 202, Tallahassee, FL 32301
            Attn: Adam Stolz, Esq.                                           Monday, 02/27/2023 at 10:00 AM (EST)
            astolz@lashgoldberg.com



           The deposition will be recorded by this method: Videotaped and transcribed by Court Reporter

       Production: You, or your representatives, must also bring with you to the deposition the following documents,
       electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
       material:
                    See Exhibit “A”


        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date: February 10, 2023
                                      CLERK OF COURT
                                                                               OR

                                       Signature of Clerk or Deputy Clerk                        Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing Plaintiff, RICCARDO SILVA, who
 issues or requests this subpoena, is:
Adam Stolz | Miami Tower, 100 SE 2nd St., Suite 1200, Miami, FL 33131 | astolz@lashgoldberg.com | 305-347-4040

                                  Notice to the person who issues or requests this subpoena

 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
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whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:22-cv-24262-RKA

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

          I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
           $                                       .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)


                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party             (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          EXHIBIT A

       PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of Civil Procedure,

you are required to produce the following documents, electronically stored information, or objects,

in accordance with the definitions and instructions listed below. In addition, you shall testify with

respect to each of the subject matters listed below.

                                         DEFINITIONS

       1.      The terms “document” or “documents” mean the original and all drafts or copies

thereof which are different in any way from the original (whether by interlineations, receipt stamps

notation, indication of copies sent or received, or otherwise) and all attached or annexed materials

to any written, typewritten, handwritten, printed, graphic, photographic or recorded material,

correspondence, telegrams, facsimiles, telexes, emails, memoranda, records of meetings,

conferences, telephone or other communications, pamphlets, books, notes, reports, studies,

transcripts, indexes, records, charts, tabulations, lists, analyses, graphs, diagrams, estimates,

minutes, tapes, photographs and photographic films, sound recordings, phonograph records, video

tapes, data compilations from which information can be obtained or can be translated into a form

reasonably usable, computer data files, tapes, electronic media, inputs or outputs, and other

computer-readable records or programs, all electronically stored or created data, whether written,

typed, printed, punched, filmed, marked in any way, data or information stored in any form

readable or accessible by computer including, but not limited to, magnetic tape storage media, hard

disks, hard drives, floppy disks, compact disks, computer tapes, memory and magnetic tapes of

any kind, backup copies and “deleted” files on any computer storage devise or media, including

the printed output of any such electronic data/communications processing equipment or

magnetically stored information, computer memory, optical media, magneto media, and other




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physical media on which notations or making of any kind can be affixed whether located on-site

or off-site. All drafts, copies or preliminary materials which are different in any way from the

executed or final documents shall be considered to be additional documents as the terms are used

herein.

          2.   The terms “relating to” or “related to” mean constituting or in any way directly or

indirectly, concerning, or referring or relating to, reflecting, considering, modifying, amending,

confirming, endorsing, evidencing, representing, supporting, qualifying, terminating, recording,

concealing, or negating.

          3.   The term “communication” means any transmission, conveyance, or exchange of

information, whether by written, oral, or other means. It shall include, without limitation, any

meeting, discussion, contact, conference, telephone conversation, letter, e-mail, transaction,

Internet posting, memorandum, document, message (including text and chat messages), telegram,

telefax, mailgram, billing statement, electronic recording, or other form of written or oral

information transmission or exchange.

          4.   The terms “all” and “each” shall be construed as all and each.

          5.   The words “and” as well as “or” shall be construed as either disjunctive or

conjunctive and references are to be construed either singular or plural, as necessary to bring within

scope of this request to produce any document which might otherwise be construed to be outside

its scope.

          6.   The term “Complaint” refers to the Complaint filed in this Lawsuit. A true and

correct copy of the Complaint is attached hereto as Exhibit 1.

          7.   The terms “You” or “Your” or “Reddit” refers to Reddit, Inc., together with all of

its assignors, merged, consolidated or acquired predecessors or successors; parents, divisions,




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units, subsidiaries, and affiliates, whether or not wholly-owned; including present and former

officers, directors, agents, representatives or employees of any of the foregoing, and including all

other persons acting or purporting to act on its behalf; experts, persons consulted concerning any

factual matter or matters of opinion relating to any of the facts or issues involved in this action,

and unless privileged, its attorneys.

        8.         The term “Handle” shall mean the Reddit handle or account, u/SOSilva7.

               INSTRUCTIONS APPLICABLE TO DOCUMENT REQUESTS

        1.         The following Instructions are to be considered applicable to each of the Document

Requests unless made expressly inapplicable by a particular Request.

        2.         Reddit is to search all documents within its possession, custody, or control,

wherever located, including but not limited to documents placed in storage facilities and

documents in the possession of any person acting or purporting to act on Reddit’s behalf. A

document is deemed to be in the possession, custody, or control of Reddit if it is in Reddit’s actual

possession or custody, or if it is in the custody of another person and Reddit owns the document

in whole or in part, or Reddit has the right to inspect, examine, or copy such document, or Reddit

has any express or implied understanding that Reddit may use, inspect, or copy such document.

        3.         Reddit shall produce any and all drafts and copies of each document that are

responsive to any Request, and all copies of such documents that are not identical in every respect,

including but not limited to copies containing handwritten notes, markings, stamps, or

interlineations.

        4.         Production is sought regardless of whether the document purportedly was

“deleted,” if such document is capable of being retrieved or restored.




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       5.        If any of the documents requested was formerly in Reddit’s possession, custody, or

control but no longer is in Reddit’s possession, custody, or control, state when and what disposition

was made of the document, and what efforts, if any, Reddit made to obtain each such document in

response hereto. Further, if any such document is not in Reddit’s possession, custody, or control,

but Reddit knows the identity of the person currently in possession or control of such document,

state the identity of the person who has the documents, including the address and telephone number

of the person.

                   DOCUMENT PRODUCTION DELIVERY STANDARDS

1.     Reddit shall produce electronic documents in the following format:

       (i)       De-Duplication: All responsive materials Documents will be globally de-duplicated
                 throughout the case based on hash values.

       (ii)      Image Format: Group IV B&W single-page TIFF.

       (iii)     Extracted Text Format: Document-level text files. (Extended ASCII or Unicode if
                 foreign language characters present).

       (iv)      File Naming: Each image and extracted text file should be named with the
                 beginning Bates number of the document, preferably not Including prefix (see
                 Proposed Directory Structure below).

       (v)       Directory Structure: Images and text files to be stored in separate directories. The
                 image files will contain up to 2000 images per folder and the text files will contain
                 up to 50,000 files per folder. The folder structure will be as follows:

                        IMAGES
                        TEXT
                        NATIVES
                        DATA

       (vi)      Additional requirements are as follows:




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                                Image Requirements
Resolution                              300 dpi
Image Shrinkage                         Bates stamp (e.g. TEST 00000001) should be
                                        applied in the bottom .5 inch of the image. Canvas
                                        should be 8.5" x 11" for all documents.
Requirements                            For spreadsheet files, provide a one-page TIFF
                                        placeholder (see also Native File Requirements
                                        below). OCR TIFF Image and
                                        non-searchable PDF files.


                          Loadfile/xref: File Requirements
Load File Type                            LFP or OPT
Load File format                          ASCII text file
Data File Format                          .DAT file
Delimiters                                Comma        ¶    ASCII character 020
                                          Quote         þ   ASCII character 254
                                          Newline      ® ASCII character 174
                                          Multi-value ;     ASCII character 059
Field Test                                See Metadata Field List below. The first line of
                                          each load file must contain the field names.


                              Native File Requirements
File Types                                The following file types should be delivered in
                                          native format unless otherwise specified:
                                          Spreadsheet files (e.g. Excel, .csv); Emails (e.g.,
                                          .msg, .pst, .mbox); and Word Processing files (e.g.,
                                          .doc, .docx, .wp).
Spreadsheet Data                          A one-page (one Bates iteration) TIFF placeholder
                                          sheet should accompany the native file version of
                                          Spreadsheet files.
Sample Placeholder Page                   <<Type of File>>- Delivered as Native File e.g.
                                          "Excel Spreadsheet-Delivered as Native File"
Extracted Text                            Full extracted text of the native file should be
                                          provided in a separate file as if the file had been
                                          processed to TIFF. Do not provide the Placeholder
                                          Page text in the extracted text.
File Naming                               Each native file is named with the beginning Bates
                                          number of the document (see Bates requirements
                                          above), preferably not including the prefix.
Directory Structure                       Native Files should be stored in a separate directory
                                          named “Natives". The path to the native data should
                                          be iterated in the load file in the Native Path field.
                                          The subdirectory structure within this folder should
                                          follow the same structure for Images noted above.


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                                    Metadata Field List
For documents that originated as ESI, please use the following fields in the metadata load file:

• Beginning Bates Number (with prefix)
• Ending Bates Number (with prefix)
• Beginning Family Range Bates Number
• Ending Family Range Bates Number
• Doc_Type (email, attachment, loose file)
• Page Count
• File Extension
• File Size
• Sourcefolder (The full path information for email, attachments and application files beginning
with the original source folder name)
• Application (The name of the application that generated the native file)
• Subject (Subject or Re line for emails)
• Title (Title field for application files)
• TO (Addressees—email only)
• FROM (Recipients—email only)
• CC (Cc field—email only)
• BCC (Bcc field—email only)
• Custodian (name of the person, department or business unit from which a collection of email
or application files originate)
• Author (name of the author or the creator of an application file)
• Date Created
• Date Last Modified
• Date Sent (email only—accuracy to days)
• Time Sent (email only—accuracy to seconds)
• Date Received (email only—accuracy to days)
• Time Received (email only ---accuracy to seconds)
• System Date Created
• System Date Modified
• System Date Accessed
• System Previous Versions




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                               DOCUMENT REQUESTS

1.   All documents and communications relating to and showing the identity of the owner(s) of
     the Handle.


             MATTERS ON WHICH EXAMINATION IS REQUESTED

1.   The identity of the owner(s) of the Handle.




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          EXHIBIT 1 TO SUBPOENA




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                                    UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA

    RICCARDO SILVA,
              Plaintiff,
    vs.
    JOHN DOE 1 (OWNER(S) OF WEBSITE
    SOSSILVA.ORG);                                                                 Case No.: 1:22-cv-24262-RKA

    JOHN DOE 2 (OWNER(S) OF REDDIT
    USERNAME @SOSILVA7);

    JOHN DOE 3 (OWNER(S) OF TWITTER
    HANDLE @SOSSILVA7);

    JOHN DOE 4;

    MOBILE BILLBOARDS, INC.,

              Defendants.


                                                            COMPLAINT

            Plaintiff Riccardo Silva (“Silva”), hereby sues Defendants John Doe 1, John Doe 2, John

   Doe 3, and John Doe 4, all of whom may be a single person or may be more than one person (the

   “John Doe Defendant(s)”), and Mobile Billboards, Inc. (the “Mobile Billboard Defendant,” and

   together with the John Doe Defendant(s), the “Defendants”) and alleges:


                                                             INTRODUCTION

            1.         This case involves a defamatory campaign waged by the John Doe Defendant(s),

   with the assistance of the Mobile Billboard Defendant, against Mr. Silva, a successful

   businessman, a philanthropist, and a devoted husband and father, which campaign was designed

   to damage Mr. Silva both personally and professionally by publishing false and outrageous

   accusations of criminality against him.



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            2.         The purpose of this defamatory campaign is unknown to Mr. Silva, as the John Doe

   Defendants have hidden their identity or identities, but the campaign was designed to cause—and

   has in fact caused—grave damage to Mr. Silva and his family.

            3.         Indeed, the Defendants sent a mobile billboard around South Miami Beach during

   the weekend of Miami Art Basel featuring a large photo of Mr. Silva’s face with text knowingly

   falsely accusing Mr. Silva of being a “predator.” Mr. Silva was in Miami at the time with his wife

   and children, and his seventeen-year-old son saw the billboard. This has, not surprisingly, caused

   devastation to Mr. Silva and his family.

            4.         The mobile billboard directed viewers’ attention to Twitter and Reddit pages,

   created by the John Doe Defendant(s), which contain additional knowingly false and defamatory

   statements. The John Doe Defendant(s) have also created a website that includes still more

   knowingly false and defamatory statements and accusations against Mr. Silva.

            5.         The Defendants have caused and are continuing to cause grave damage to Mr. Silva

   by publishing this knowingly false and defamatory material accusing Mr. Silva of criminal and

   deviant conduct. Mr. Silva and his family are in fear of their safety and security as a result of the

   Defendants’ harassment and defamatory campaign.

                                               JURISDICTION AND VENUE

            6.         The Court has subject matter jurisdiction over this case because the amount of

   damages sought by Mr. Silva, exclusive of any attorney’s fees, costs, and expenses, exceeds

   $75,000.

            7.         This Court has personal jurisdiction over each of the Defendants in that, at all

   relevant times, they (a) resided in Florida and/or (b) committed tortious acts in Florida.

            8.         Venue is proper in this District under 28 U.S.C. §§ 1391(b)(1) and/or 1391(b)(2)


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   because at least one of the Defendants reside in this District and all Defendants are residents of

   Florida, and/or because a substantial part of the events giving rise to the below claims occurred in

   this District.

                                                           THE PARTIES

            9.         Mr. Silva is an individual whose domicile is London, United Kingdom. Mr. Silva

   owns a condominium in South Miami Beach.

            10.        Defendant John Doe 1 is the owner of the website sossilva.org. Upon information

   and belief, John Doe 1 resides in the State of Florida. John Doe 1 committed the tortious acts

   described herein in the State of Florida. Notably, as the allegations infra show, John Doe 1 may

   be one or more individuals and may be the same individual as John Doe 2, 3, or 4.

            11.        Defendant John Doe 2 is the owner of the Reddit username @SOSilva7. Upon

   information and belief, John Doe 2 resides in the State of Florida. John Doe 2 committed the

   tortious acts described herein in the State of Florida. Notably, as the allegations infra show, John

   Doe 2 may be one or more individuals and may be the same individual as John Doe 1, 3, or 4.

            12.        Defendant John Doe 3 is the owner of the Twitter handle @SOSSilva7. Upon

   information and belief, John Doe 3 resides in the State of Florida. John Doe 3 committed the

   tortious acts described herein in the State of Florida. Notably, as the allegations infra show, John

   Doe 3 may be one or more individuals and may be the same individual as John Doe 1, 2 or 4.

            13.        Defendant John Doe 4 is the individual who hired the billboard from the Mobile

   Billboard Defendant. Upon information and belief, John Doe 4 resides in the State of Florida. John

   Doe 4 committed the tortious acts described herein in the State of Florida. Notably, as the

   allegations infra show, John Doe 4 may be one or more individuals and may be the same individual

   as John Doe 1, 2, or 3.

            14.        The Mobile Billboard Defendant is a Florida corporation with principal offices in
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   Parrish, Florida, and is duly authorized to conduct business in the State of Florida. The Mobile

   Billboard Defendant offers mobile billboard services—i.e., a billboard that is placed on the rear of

   a motor vehicle and is observable by other motorists and pedestrians. The Mobile Billboard

   Defendant committed the tortious acts described herein in the State of Florida.

                                                 FACTUAL BACKGROUND

            15.        Mr. Silva is a husband, a father, and a renowned businessman and investor. He

   owns the investment company, Silva International Investments, an investment company that

   manages and invests in various sectors—media, technology, sports, entertainment, the arts, and

   real estate, to name a few. He also owns the model and talent agency, Select Model Management.

   In addition, he is the president and co-owner of the American professional soccer team, Miami FC,

   and an investor in and co-owner of AC Milan, one of the most successful soccer teams in the

   world.

            16.        Mr. Silva is a devoted philanthropist, as well. He donates substantial time and

   money to various causes. He has made significant donations across a range of projects in Europe,

   Africa, and the United States (particularly, Miami, Florida), including to Florida International

   University (“FIU”), Mount Sinai Medical Center, Gulliver Schools, St. Stephen’s Episcopal Day

   School, the Bass Museum of Art, the New World Symphony, Play for Change, The Foundation

   for AIDS Research, Elton John AIDS Foundation, the Novak Djokovic Foundation, Movimiento

   Shalom, and the Bali Street Kids Project. In recognition of Mr. Silva’s contributions to FIU and,

   more generally, to the city of Miami, FIU named its football and soccer stadium—Riccardo Silva

   Stadium—after him.

            17.        Mr. Silva is an upstanding, law-abiding citizen. And yet, to his shock, the

   Defendants have recently set forth a damaging campaign against him, designed to damage him


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   personally and professionally by accusing him of conduct that is categorially false. Specifically,

   the Defendants have falsely accused Mr. Silva of serial sexual abuse and sexual harassment,

   bribery, and other falsely alleged conduct. Outrageously, the Defendants have falsely compared

   Mr. Silva to the likes of Jeffrey Epstein.

            18.        Each and every one of these accusations against Mr. Silva is knowingly false—

   fabricated by the Defendants to damage and destroy Mr. Silva’s personal and professional life.

            19.        Mr. Silva seeks compensatory and punitive damages resulting from the harm that

   the Defendants’ defamatory campaign has caused him and will continue to cause him.

                                                              The Website

            20.        John Doe 1 created the website sossilva.org (the “Website”) on September 8, 2022.

            21.        The Website contains only the following accusations:




            22.        Each and every one of these accusations made by John Doe 1 on the Website against

   Mr. Silva is knowingly false, defamatory, and extreme and outrageous.

                                                      The Reddit Campaign

            23.        John Doe 2 created the Reddit username u/SOSilva7 on September 8, 2022—the

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   same day the Website was created.

            24.        Throughout October 2022, u/SOSilva7 made the following post (the “Reddit

   Posts”) across several Reddit forums, including r/NYC, r/Miami, r/Florida, r/Chicago, r/Illinois,

   r/London, r/metoo, r/Modeling, r/sexualassault, r/TwoXChromosomes, r/abusesurvivors,

   r/emotionalabuse. Together, there are roughly 16.1 million members in these Reddit forums:

            “TW- my story of abuse and harassment.

            Hello All,

            I was in the industry for years and left after the incident I’ve described below.
            Currently, my goal is to make aspiring models and others interested in the industry
            aware that this behavior occurs and is far more commonplace than most think.
            Everything here happened to me and unfortunately was experienced by several
            people.

            A few years ago, I began working with Select Model Management. They had (and
            objectively have) a decent reputation in a industry where we all pretty much realize
            it is only a matter of time until we experience something creepy, unwelcomed or
            downright horrible.

            Over the course of my work, I interacted with Riccardo Silva. He’s European
            (Italian I think) and married. Extremely wealthy. Multiple businesses and
            everything you’d expect. We were at several events together and he was always
            surrounding himself with my colleagues, other women from other agencies or just
            women in general. His vibe was . . . neutral but hostile? If that makes sense? Not a
            huge change from most in the industry, so I really just went about my work.

            Over time, I saw him at other events more frequently, we made small talk and that
            was about it. One time he touched my shoulder with unusual force, but I didn’t
            think much of it. Then he started reaching out. This was unsettling, because I
            certainly didn’t expect it and while the agency had all of my info, you don’t expect
            someone who is essentially your boss to reach out socially.

            It went from a normal, ‘hey, how are you’, and got weird immediately after. Asking
            me what I liked sexually. Telling me his body count and who specifically in our
            agency that he slept with. The ‘obvious benefits’ of me sleeping with him. My brain
            just blanked. I didn’t really respond initially. This had happened so often before at
            other places, and a quick ‘fck off!’ usually helped, but not with a person at this level
            and not there. I just didn’t know what to do.

            He kept it up, it became almost an everyday thing. I started to respond and tell him

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            this made me uncomfortable. He ignored it every time. When I saw him, he’d touch
            me and say things under his breath. If I was talking to other men, he’d interject
            himself into the conversation. All the while, he kept harassing me. I mentioned it
            to other people and they’d shrug, or nod, share their experience and tell me to stay
            as far away from him as possible. It made me physically sick. I lost weight, lost
            interest in a lot of things. One of the worst parts was seeing him present this image
            to the outside world that he was a good guy, pictures with his family playing soccer,
            art donations, etc. Meanwhile, he tormented me at the same time.

            He ramped it up and got angry. If I wouldn't sleep with him on my own, I'd ‘do it
            for money, of course’ Constant propositions, across phone, text, dm, etc. Shaming
            me. Saying he’d destroy me. Destroy my career. Shame my family, especially a
            family member that was very ill at the time. All the things I feared, however
            irrational, he pushed on and made me feel like shit. It came to a head when I saw
            him for the last time and he grabbed me so hard on my arm it left bruises. Told me
            he ‘wasn’t interested in trash like me’, that he just wanted to toy with me, that I
            wasn’t pretty enough anyway.

            I quit. Soon after, a flood of people reached out to me, sharing their experiences,
            which were identical to my own in some cases, and far, far, far worse in others. He
            harassed, intimidated, and violently abused several women. He abused his position
            of power to abuse others.

            My life was pretty beautiful, and it still is, but despite therapy and wonderful family
            and friends, Riccardo’s harassment and abuse changed who I am, and how I interact
            with people in every part of my life.

            It made me harder, but I’m determined to use that to help others. To make people
            like him know that they can't treat people like that and to call that abuse out for
            others.

            If you have experienced anything like this, I send you strength and love. Thank you
            all for reading.”

            25.        In December 2022, John Doe 2 created and assigned itself as the moderator of the

   Reddit forum r/SOSSilvaSurvivors (the “Reddit Forum”).

            26.        In the Reddit Forum, u/SOSilva7 made the following post:




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            27.        Each and every one of these accusations made by John Doe 2 on Reddit against Mr.

   Silva is knowingly false, defamatory, and extreme and outrageous.

                                                      The Twitter Campaign

            28.        In September 2022, John Doe 3 created the Twitter account @SOSSilva7, which is

   based out of Miami, Florida, as the account’s Twitter page shows.                                         The biography reads:

   “Survivors Of Silva- The survivors of sexual violence and intimidation at the hands of Riccardo

   Silva of Select Model Management/Silva International Investments”:




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            29.        On December 3, 2022, John Doe 3 posted a five-tweet thread, tagging media

   entities, such as the Miami Herald, Miami New Times, and Miami Beach News, along with the

   Twitter account for the international arts festival, Art Basel, which is located in Miami, Florida.

   The thread contained similar defamatory and false accusations to those made by John Doe 1 on

   the Website and by John Doe 2 on Reddit:




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            30.        Like the false accusations against Mr. Silva on the Website and on Reddit, John

   Doe 3’s accusations of grotesque conduct against Mr. Silva on Twitter are knowingly false,

   defamatory, and extreme and outrageous.

                                              The Mobile Billboard Campaign

            31.        In or around December 2, 2022, Defendant John Doe 4 purchased a mobile

   billboard (the “Billboard”) from the Mobile Billboard Defendant.

            32.        Defendant John Doe 4 hired the Mobile Billboard Defendant to drive around the

   location of Mr. Silva’s condominium he owns in South Miami Beach on Saturday, December 3,

   2022, which was the weekend of Miami Art Basel, one of the busiest weekends of the year in

   Miami Beach.
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            33.        On the Billboard, the Defendants falsely accused Mr. Silva of being a “predator on

   the loose in Miami.” Observers of the Billboard are further directed to the above-referenced

   Twitter handle, @SOSSilva7, and Reddit Forum, r/SOSSilvaSurvivors:




            34.        The Defendants’ accusation that Mr. Silva is a “predator” is knowingly false,

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   defamatory, and extreme and outrageous. And, as alleged supra, the accusations against him on

   Twitter and Reddit are knowingly false, defamatory, and extreme and outrageous.

            35.        The Mobile Billboard Defendant knew or should have known the accusations

   against him were false or, at least, the Mobile Billboard Defendant recklessly disregarded the

   falsity of the accusations.

            36.        Mr. Silva’s seventeen-year-old son witnessed the truck driving around the

   neighborhood of Mr. Silva’s South Beach condo. He was devasted to see his father portrayed in

   this way. This has caused extreme emotional distress to Mr. Silva and his family.

            37.        Mr. Silva has suffered damages as a result of the Defendants’ knowingly false,

   defamatory, extreme and outrageous, and injurious campaign against him. In particular, Mr. Silva

   has suffered, and will continue to suffer, monetary damages, including in connection with his

   reputation and business interests, and severe emotional distress. In addition, Mr. Silva fears for

   his and his family’s safety and security, given the defamatory and harassing campaign against him.

            38.        All conditions precedent to the maintenance of this action have occurred, been

   performed, complied with, or waived.

                                           COUNT I: DEFAMATION (LIBEL)
                                               (Against All Defendants)

            39.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 38 above.

            40.        The Defendants published to millions of third parties knowingly false, defamatory

   statements of and concerning Mr. Silva on the Website, Twitter, Reddit, and the Billboard, as

   outlined supra.

            41.        The Defendants knew that said statements of and concerning Mr. Silva were false,

   recklessly disregarded the falsity of said statements, and/or were negligent as to the falsity of said

   statements.

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            42.        As a result of the Defendants’ wide publication of the above false statements, Mr.

   Silva has suffered damages, including without limitation, monetarily, to his reputation, and to his

   business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

                                    COUNT II: DEFAMATION (LIBEL) PER SE
                                            (Against All Defendants)

            43.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 42 above.

            44.        The Defendants published to millions of third parties knowingly false, defamatory

   statements of and concerning Mr. Silva on the Website, Twitter, Reddit, and the Billboard, as

   outlined supra.

            45.        Those false, defamatory statements charged that Mr. Silva committed infamous

   crimes and/or felonies, including without limitation, sex crimes and bribery. In addition, the false,

   defamatory statements subject Mr. Silva to hatred, distrust, ridicule, contempt, and/or disgrace.

   Finally, the false, defamatory statements harm Mr. Silva in his many business ventures articulated

   supra.

            46.        Accordingly, Mr. Silva has suffered damages, including without limitation,

   monetarily, to his reputation, and to his business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.




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                          COUNT III: DEFAMATION (LIBEL) BY IMPLICATION
                                        (Against All Defendants)

            47.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 46 above.

            48.        Mr. Silva asserts Count III in the alternative to Counts I and II.

            49.        To the extent that one or more of the Defendants’ statements on the Website,

   Twitter, Reddit, and/or the Billboard, which were published to millions of people, are determined

   to be true, all resulting suggestions, impressions, and/or implications that Mr. Silva engaged in any

   criminal or deviant misconduct are false.

            50.        The false suggestions, impressions, and/or implications that Mr. Silva engaged in

   any criminal or deviant misconduct have caused serious harm to Mr. Silva.

            51.        Accordingly, Mr. Silva has suffered damages, including without limitation,

   monetarily, to his reputation, and to his business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

              COUNT IV: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                (Against All Defendants)

            52.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 51 above.

            53.        The Defendants engaged in extreme and outrageous conduct, including without

   limitation, by setting forth an internet and billboard campaign to falsely accuse Mr. Silva of

   heinous, criminal conduct—being compared to the likes of Jeffrey Epstein. Engaging in a

   campaign to publish knowingly false and defamatory accusations of the most grotesque order goes

   beyond all possible bounds of decency and such ruthless attacks are intolerable in a civilized

   society.


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            54.        The Defendants engaged in such extreme and outrageous conduct with the intent to

   ruin Mr. Silva’s personal and professional life, and thus to cause him severe emotional distress.

            55.        At the very least, the Defendants’ extreme and outrageous conduct was done with

   reckless disregard to the probability of causing Mr. Silva severe emotional distress.

            56.        Mr. Silva has suffered severe emotional distress, and will continue to suffer severe

   emotional distress, as a result of the Defendants’ extreme and outrageous conduct. In addition, the

   mobile billboard was seen by Mr. Silva’s seventeen-year-old son, a likely, and indeed intended,

   consequence of having the mobile billboard driven outside of Mr. Silva’s condominium. Mr.

   Silva’s son was extremely distraught by what he saw, which has caused Mr. Silva severe emotional

   distress at the damage this defamatory publication has inflicted on his entire family.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

                  COUNT V: INJUNCTION – STALKING, § 784.0485(1), FLA. STAT.
                                  (Against All Defendants)

            57.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 56 above.

            58.        The Defendants have willfully, maliciously, and repeatedly harassed Mr. Silva

   through their harassment and defamatory campaign against him, both online and in person.

            59.        Mr. Silva has suffered severe emotional distress, and will continue to suffer severe

   emotional distress, as a result of the Defendants’ campaign. In addition, Mr. Silva and his family

   have suffered from grave concerns to their safety and security as a result of the Defendants’

   harassment and defamatory campaign.

            60.        The Defendants’ harassment and defamatory campaign serves no legitimate

   purpose, as it is based on knowing falsehoods.

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            61.        Mr. Silva has a clear legal right to not be harassed and defamed in violation of the

   law.

            62.        There is no adequate remedy at law for the further violation of this right,

   necessitating this Court’s intervention to enjoin the Defendants from continuing their campaign.

            63.        Should the Court fail to permanently enjoin the Defendants from continuing their

   campaign, Mr. Silva will continue to suffer severe emotional distress and he and his family will

   continue to be in grave fear for their safety and security.

            WHEREFORE, Mr. Silva demands an order permanently enjoining the Defendants from

   continuing their harassment and defamatory campaign, and such other relief as the Court deems

   just and proper.



            Dated: January 4, 2023                                Respectfully submitted,

                                                                  By: /s/ Joshua M. Mandel

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                                                                  fernandezf@gtlaw.com
                                                                  FLService@gtlaw.com

                                                                  Counsel for Plaintiff Riccardo Silva


                                                                      17
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February 15, 2023                                                                                     John K. Roche
                                                                                              JRoche@perkinscoie.com
                                                                                                 D. +1.202.434.1627
                                                                                                 F. +1.202.654.6211

VIA EMAIL

Adam J. Stolz
Lash Goldberg
Miami Tower
100 Southeast 2nd Street, Suite 1200
Miami, FL 33131
305-347-4040
astolz@lashgoldberg.com

Re:     Subpoena to Reddit, Inc.
        Silva v. Mobile Billboard, Inc., et al., No. 1:22-cv-24262 (S.D. Fla.)

Dear Adam:

We represent Reddit, Inc. (“Reddit”) and write regarding the subpoena issued to Reddit in the
above-referenced matter. Reddit objects to the subpoena in its entirety for the reasons below.

First, Reddit objects because the subpoena lists an improper place of compliance. Under Fed. R.
Civ. P. 45(c)(1)-(2), the place of compliance must be “at a place within 100 miles of where the
person resides, is employed, or regularly transacts business in person.” Reddit is headquartered
in San Francisco, California, and as a result the place for compliance (and any enforcement
proceeding with respect to the subpoena) must be in the Northern District of California. See Ortiz
v. Harrell, No. 21-14219-CIV, 2022 WL 457856, at *4 (S.D. Fla. Feb. 14, 2022) (“For non-party
corporations, courts find that ‘the place of compliance’ is where a corporation is
headquartered.”); Europlay Capital Advisors, LLC v. Does, 323 F.R.D. 628 (C.D. Cal. 2018)
(denying motion to compel Google’s compliance with a subpoena that listed Sherman Oaks as
the place for compliance, because Sherman Oaks is more than 100 miles from Google’s
Mountain View, California headquarters). 1

Second, Reddit objects to the demand for deposition testimony as unduly burdensome and
unnecessary. See Intermarine, LLC v. Spliethoff Bevrachtingskantoor, B.V., 123 F. Supp. 3d
1215, 1218-19 (N.D. Cal. 2015) (quashing deposition subpoena because a litigant “is not entitled
to elicit expert testimony from [a service provider], particularly where it can retain its own expert
witness to explain these issues[,]” and service providers “should not bear the burden of providing

1
 See also Fed. R. Civ. P. 45(d)(3)(A) (subpoena enforcement proceedings must be held in the district court
encompassing the place where compliance is required).
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testimony in all cases in which [an account holder’s documents] are at issue.”). To the extent
Reddit produces any records in response to a subpoena in this matter, those records can be
authenticated by a declaration under Fed. R. Evid. 803(6) and 902(11) rather than a deposition.

Third, the request for “[a]ll documents and communications” regarding the identity of the user of
the subject account is vague, overbroad, and violates the federal Stored Communications Act
(“SCA”), 18 U.S.C. § 2702, to the extent it seeks the contents of any communications. See
Suzlon Energy Ltd. v. Microsoft Corp., 671 F.3d 726, 730 (9th Cir. 2011) (litigants may not
obtain the content of communications with a civil discovery demand because it would “invade[]
the specific interests that the [SCA] seeks to protect.”); Classic Soft Trim, Inc. v. Albert, No.
618CV1237ORL78GJK, 2020 WL 6749836, at *3 (M.D. Fla. Sept. 21, 2020) (“a provider may
not disclose the content of electronic communications pursuant to a civil subpoena”). The most
Reddit could produce in response to this request is basic subscriber information (“BSI”) as
enumerated by the SCA, 18 U.S.C. § 2703(c)(2).

Finally, the subpoena implicates the First Amendment right to anonymous speech and is
therefore premature to the extent it seeks BSI for purposes of identifying the speaker. See In re
DMCA § 512(h) Subpoena to Twitter, Inc., No. 20-mc-80214-VC, 2022 WL 2205476, at *2
(N.D. Cal. June 21, 2022) (“the ability to speak anonymously on the Internet promotes the robust
exchange of ideas and allows individuals to express themselves freely without ‘fear of economic
or official retaliation ... [or] concern about social ostracism.’”) (quoting In re Anonymous Online
Speakers, 661 F.3d 1168, 1173 (9th Cir. 2011)). “[W]hen adjudicating a subpoena or other
request for compelled disclosure that would reveal the identity of an anonymous speaker, a court
should (1) notify the speaker and provide them with an opportunity to (anonymously) defend
their anonymity; (2) require the party seeking disclosure to make a prima facie showing on the
merits of their claim; and (3) balance the equities, weighing the potential harm to the party
seeking disclosure against the speaker’s interest in anonymity, in light of the strength of the
underlying claim.” In re DMCA § 512(h) Subpoena to Twitter, Inc., 2022 WL 2205476, at *3.
An additional relevant factor is whether the identifying information “is unavailable from any
other source.” Rich v. Butowsky, No. 20-mc-80081-DMR, 2020 WL 5910069, at *4 (N.D. Cal.
Oct. 6, 2020). We understand Mobile Billboards is a defendant, and plaintiff may therefore be
able to obtain identifying information about the person behind this alleged scheme from Mobile
Billboards. Plaintiff should exhaust discovery from any known defendants before seeking
discovery from Reddit. See Realtime Data, LLC v. MetroPCS Texas, LLC, No. C 12–80130,
2012 WL 3727304, at *2 (N.D. Cal. Aug. 28, 2012) (“[Plaintiff] has not demonstrated exactly
what additional documents it requires beyond those it has secured or should have secured from
[Defendant].”). If plaintiff exhausts discovery from any known defendants and issues an
amended subpoena that corrects the issues described above, Reddit reserves the right to require
the judicial findings described above under the First Amendment before it can be compelled to
produce any BSI.
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Please contact me if you have any questions or would like to discuss this matter. In the
meantime, Reddit does not waive and expressly reserves all available rights and objections.

Sincerely,




John Roche
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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

   RICCARDO SILVA,
            Plaintiff,
   vs.                                                     Case No.: 22-cv-24262-Altman/Reid

   MOBILE BILLBOARDS, INC., et al.

            Defendants.


         PLAINTIFF RICCARDO SILVA’S UNOPPOSED MOTION TO RE-OPEN CASE

           Plaintiff Riccardo Silva (“Plaintiff”) hereby respectfully moves the Court for an Order re-

  opening the case, and in support thereof, states as follows:

           1.      Plaintiff filed this lawsuit on December 30, 2022. [ECF No. 1].

           2.      In the Complaint, [ECF No. 7-1], Plaintiff names five defendants: Mobile

  Billboards, Inc. (“Mobile Billboards”) and four John Doe Defendants (the “John Does”).

           3.      In particular, Plaintiff alleges in his Complaint that the four John Does have

  anonymously defamed him, through forums such as Twitter, Reddit, a website (the “Website”),

  and a mobile billboard.

           4.      Since filing his lawsuit, Plaintiff has been working diligently to identify the

  anonymous John Does, including for purposes of service of process. See Joint Sched. Rpt. [ECF

  No. 18] (Plaintiff informing the Court that his efforts to identify the John Does are underway). As

  part of those efforts, Plaintiff has done the following to date:

                   A.     Subpoenaed Reddit for the identities of the owner(s) of the Reddit
                          username, the publisher(s) of the Reddit posts, and the moderator(s) of the
                          Reddit forum at issue in the Complaint;

                   B.     Subpoenaed Twitter for the identity of the owner(s) of the Twitter account
                          at issue in the Complaint;
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                 C.        Subpoenaed Wix for the identity of the purchaser of the Wix-domain
                           associated with the Website at issue in the Complaint;

                 D.        Subpoenaed Verizon, which is the cell-phone service provider for at least
                           one individual believed to be at the helm of the defamation campaign
                           against Plaintiff and the network provider for the IP address associated with
                           the Website;

                 E.        Subpoenaed several individuals believed to be involved in the defamation
                           campaign against Plaintiff based on records produced by Verizon and Wix;

                 F.        Subpoenaed a restaurant in New York City to identify the owner(s) of a
                           phone number used by the individual(s) who Plaintiff believes is involved
                           in the defamation campaign against him; and

                 G.        Subpoenaed Chase Bank, N.A. to identify the owner(s) of a certain debit or
                           credit card used to purchase the Wix domain name for the Website at issue
                           in the Complaint.

                 H.        Engaged a private investigator to assist in identifying the John Does.

         5.      In addition, Plaintiff is in the process of preparing and issuing subpoenas to several

  other individuals and companies he has learned have been in contact with the anonymous

  individuals believed to be involved in the defamation campaign against him. Those individuals

  and companies include the following:

                 A.        Several aerial banner companies, which provide aerial billboard services,
                           akin to the mobile billboard services offered by Defendant Mobile
                           Billboards;

                 B.        Another mobile-billboard company, which offers mobile-billboard services
                           akin to those offered by Defendant Mobile Billboards; and

                 C.        At least three other cell-phone service providers, who Plaintiff has learned
                           are the providers for cell-phone numbers believed to be involved in the
                           defamation campaign against him.

         6.      In short, Plaintiff is working diligently on unraveling the anonymous network out

  to falsely attack him.




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          7.      Indeed, Plaintiff’s efforts have thus far revealed the identities of at least two

  individuals known to be involved in—and believed to be spearheading—the defamation campaign

  against Plaintiff.

          8.      Plaintiff intends to name those two individuals (and possibly other individuals,

  depending on the results of his efforts described supra), and at least one company, in an amended

  complaint, which is due to the Court on or before March 29, 2023, per the Court’s Scheduling

  Order. See [ECF No. 19].

          9.      However, upon Defendant Mobile Billboards’ unopposed motion for extension of

  time to respond to the Complaint, the Court entered an Order administratively closing this case.

  See Paperless Order [ECF No. 22].

          10.     In the Order, the Court stated the basis for its administrative closure: “In their

  Motion, the Defendants told us they have ‘been in communication with counsel for [Plaintiff] in

  an attempt to reach an agreement which would resolve the dispute without exhausting the Court’s

  valuable time and without the need for costly litigation.’”

          11.     To be clear, only one Defendant—Mobile Billboards—moved for an extension of

  time to respond to the Complaint. Mobile Billboards is just one piece to what appears to be a

  much-larger puzzle in the defamation campaign waged against Plaintiff. Even if Plaintiff and

  Defendant Mobile Billboards were to resolve the claims against Defendant Mobile Billboards, “the

  dispute” continues as to the four John Doe Defendants.

          12.     Given the extraordinary lengths at which the John Does have attempted to

  anonymously and falsely accuse Plaintiff of criminal conduct, Plaintiff has yet been unable to serve

  the John Does with process, as explained supra, despite his diligent efforts to date.




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          13.      And, thus, the Court’s administrative closure of this case is prejudicial to Plaintiff’s

  efforts to identify the John Does. Indeed, on February 27, 2023, in-house counsel for Reddit wrote

  to Attorney Adam Stolz, co-counsel for Plaintiff, that it would not comply with Plaintiff’s

  subpoena, in part, because of the Court’s administrative closure. In particular, Reddit’s counsel

  stated that Reddit would not comply with the subpoena “particularly now that the case is stayed,”

  and that before it were to comply with the subpoena, “Plaintiff will need to get the S.D. Fla. Court

  to lift the stay.”

          14.      Accordingly, Plaintiff respectfully requests that the Court re-open the case so that

  Plaintiff can proceed with his case against the Defendants, including the John Doe Defendants,

  pursuant to the Court’s Scheduling Order.

          15.      Plaintiff has conferred with Defendant Mobile Billboards, which does not oppose

  the relief sought through this Motion and asks that it have, as it requested, until April 14, 2023 to

  file its answer to Plaintiff’s complaint.

          WHEREFORE, Plaintiff Riccardo Silva respectfully requests that this Court enter an Order

  re-opening the case, setting the April 14, 2023 deadline for Defendant Mobile Billboards to answer

  Plaintiff’s Complaint, and for such further relief as this Court deems equitable, just, and proper.




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  Dated: February 28, 2023                Respectfully submitted,

                                          By: /s/ Joshua M. Mandel

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                                          333 S.E. 2nd Avenue, Suite 4400
                                          Miami, Florida 33131
                                          Telephone: (305) 579-0570
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                                          BENJAMIN GREENBERG
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                                          fernandezf@gtlaw.com
                                          FLService@gtlaw.com

                                          Counsel for Plaintiff Riccardo Silva

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                                          ADAM J. STOLZ
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                                          Co-Counsel for Plaintiff Riccardo Silva




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of February, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.



                                                        /s/ Joshua M. Mandel
                                                            JOSHUA M. MANDEL




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            EXHIBIT 5
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From:                 Paul Thanasides <paul@mcintyrefirm.com>
Sent:                 Friday, March 31, 2023 4:25 PM
To:                   Adam Stolz
Cc:                   ComplexLit E-Service; CL Service; Christen Hernandez; Mouhannad Atfeh
Subject:              Re: R. 45 Notice of Subpoenas___Silva v. Mobile Billboards Inc., et al., Case No. 1:22-cv-24262-RKA
                      (S.D. Fla)
Attachments:          image001.png




EXTERNAL:
No objection.

Paul Thanasides
McIntyre Thanasides
paul@mcintyrefirm.com
813.412.0393 (c) | 813.223.0000 (o)

On Mar 31, 2023, at 6:05 PM, Adam Stolz <astolz@lashgoldberg.com> wrote:



[*This email originated from outside of McIntyre*]

   Some people who received this message don't often get email from astolz@lashgoldberg.com. Learn why this is important
Paul,

I am co‐counsel for Riccardo Silva in connection with the above‐referenced matter. Please find attached a Notice of
Service of Subpoenas on Various Entities pursuant to Fed. R. Civ. P. 45. Please promptly advise whether your client,
Mobile Billboards, Inc., has any objections or questions regarding the attached.

Thank you and have a nice weekend.

Sincerely,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
<image001.png>
Miami Tower
100 SE 2nd St., Ste. 1200
Miami, Florida 33131
www.lashgoldberg.com

<R. Silva Notice of Service of Subpoenas on Various Entities__03.31.2023.pdf>




                                                                1
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            EXHIBIT 6
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                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                       Southern District of Florida

                    RICCARDO SILVA
                                                                        )
                           Plaintiff                                    )
                              v.                                        )    Civil Action No. 1:22-cv-24262-RKA
                                                                        )
             JOHN DOE 1, JOHN DOE 2, JOHN
                                                                        )
             DOE 3, JOHN DOE 4, and MOBILE
                    BILLBOARDS, INC.                                    )

                          Defendants


             SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS IN A CIVIL ACTION

       To:     Reddit, Inc. c/o CSC – Lawyers Incorporating Service (registered agent)
               2710 Gateway Oaks Drive, Suite 150N
               Sacramento, CA 95833-3505
       To:     John Roche, Esq. o/b/o Reddit, Inc.
               JRoche@perkinscoie.com

       Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
       documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
       material:
                    See Attached Exhibit “A”

Place:                                                                       Date and Time:
Bartko Zankel Bunzel & Miller
One Embarcadero Center, Ste. 800, San Francisco, CA 94111                    Monday, 04/10/2023 at 5:00 PM
Attn: Kerry L. Duffy; Adam J. Stolz

astolz@lashgoldberg.com


          The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
   Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
   respond to this subpoena and the potential consequences of not doing so.

   Date: March 31, 2023
                                       CLERK OF COURT
                                                                                OR

                                        Signature of Clerk or Deputy Clerk                        Attorney’s signature

   The name, address, e-mail address, and telephone number of the attorney representing Plaintiff, RICCARDO SILVA, who
   issues or requests this subpoena, is:
 Adam Stolz | Miami Tower, 100 SE 2nd St., Suite 1200, Miami, FL 33131 | astolz@lashgoldberg.com | 305-347-4040

                                   Notice to the person who issues or requests this subpoena
   If this subpoena commands the production of documents, electronically stored information, or tangible things before
   trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
   whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 1:22-cv-24262-RKA

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

         I served the subpoena by delivering a copy to the named individual as follows:


                                                                                on (date)                     ; or

         I returned the subpoena unexecuted because:
                                                                                                                            .

         Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
         tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $                                   .

My fees are $                                for travel and $                       for services, for a total of $   0.00   .


         I declare under penalty of perjury that this information is true.


Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                        Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
                                                                                        (i) disclosing a trade secret or other confidential research, development,
(c) Place of Compliance.                                                           or commercial information; or

  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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            EXHIBIT A
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                                          EXHIBIT A

       PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of Civil Procedure,

you are required to produce the following documents, electronically stored information, or objects,

in accordance with the definitions and instructions listed below. In addition, you shall testify with

respect to each of the subject matters listed below.

                                         DEFINITIONS

       1.      The terms “document” or “documents” mean the original and all drafts or copies

thereof which are different in any way from the original (whether by interlineations, receipt stamps

notation, indication of copies sent or received, or otherwise) and all attached or annexed materials

to any written, typewritten, handwritten, printed, graphic, photographic or recorded material,

correspondence, telegrams, facsimiles, telexes, emails, memoranda, records of meetings,

conferences, telephone or other communications, pamphlets, books, notes, reports, studies,

transcripts, indexes, records, charts, tabulations, lists, analyses, graphs, diagrams, estimates,

minutes, tapes, photographs and photographic films, sound recordings, phonograph records, video

tapes, data compilations from which information can be obtained or can be translated into a form

reasonably usable, computer data files, tapes, electronic media, inputs or outputs, and other

computer-readable records or programs, all electronically stored or created data, whether written,

typed, printed, punched, filmed, marked in any way, data or information stored in any form

readable or accessible by computer including, but not limited to, magnetic tape storage media, hard

disks, hard drives, floppy disks, compact disks, computer tapes, memory and magnetic tapes of

any kind, backup copies and “deleted” files on any computer storage devise or media, including

the printed output of any such electronic data/communications processing equipment or

magnetically stored information, computer memory, optical media, magneto media, and other




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physical media on which notations or making of any kind can be affixed whether located on-site

or off-site. All drafts, copies or preliminary materials which are different in any way from the

executed or final documents shall be considered to be additional documents as the terms are used

herein.

          2.   The terms “relating to” or “related to” mean constituting or in any way directly or

indirectly, concerning, or referring or relating to, reflecting, considering, modifying, amending,

confirming, endorsing, evidencing, representing, supporting, qualifying, terminating, recording,

concealing, or negating.

          3.   The term “communication” means any transmission, conveyance, or exchange of

information, whether by written, oral, or other means. It shall include, without limitation, any

meeting, discussion, contact, conference, telephone conversation, letter, e-mail, transaction,

Internet posting, memorandum, document, message (including text and chat messages), telegram,

telefax, mailgram, billing statement, electronic recording, or other form of written or oral

information transmission or exchange.

          4.   The terms “all” and “each” shall be construed as all and each.

          5.   The words “and” as well as “or” shall be construed as either disjunctive or

conjunctive and references are to be construed either singular or plural, as necessary to bring within

scope of this request to produce any document which might otherwise be construed to be outside

its scope.

          6.   The term “Complaint” refers to the Complaint filed in this Lawsuit. A true and

correct copy of the Complaint is attached hereto as Exhibit 1.

          7.   The terms “You” or “Your” or “Reddit” refers to Reddit, Inc., together with all of

its assignors, merged, consolidated or acquired predecessors or successors; parents, divisions,




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units, subsidiaries, and affiliates, whether or not wholly-owned; including present and former

officers, directors, agents, representatives or employees of any of the foregoing, and including all

other persons acting or purporting to act on its behalf; experts, persons consulted concerning any

factual matter or matters of opinion relating to any of the facts or issues involved in this action,

and unless privileged, its attorneys.

        8.         The term “Handle” shall mean the Reddit handle or account, u/SOSilva7.

               INSTRUCTIONS APPLICABLE TO DOCUMENT REQUESTS

        1.         The following Instructions are to be considered applicable to each of the Document

Requests unless made expressly inapplicable by a particular Request.

        2.         Reddit is to search all documents within its possession, custody, or control,

wherever located, including but not limited to documents placed in storage facilities and

documents in the possession of any person acting or purporting to act on Reddit’s behalf. A

document is deemed to be in the possession, custody, or control of Reddit if it is in Reddit’s actual

possession or custody, or if it is in the custody of another person and Reddit owns the document

in whole or in part, or Reddit has the right to inspect, examine, or copy such document, or Reddit

has any express or implied understanding that Reddit may use, inspect, or copy such document.

        3.         Reddit shall produce any and all drafts and copies of each document that are

responsive to any Request, and all copies of such documents that are not identical in every respect,

including but not limited to copies containing handwritten notes, markings, stamps, or

interlineations.

        4.         Production is sought regardless of whether the document purportedly was

“deleted,” if such document is capable of being retrieved or restored.




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       5.        If any of the documents requested was formerly in Reddit’s possession, custody, or

control but no longer is in Reddit’s possession, custody, or control, state when and what disposition

was made of the document, and what efforts, if any, Reddit made to obtain each such document in

response hereto. Further, if any such document is not in Reddit’s possession, custody, or control,

but Reddit knows the identity of the person currently in possession or control of such document,

state the identity of the person who has the documents, including the address and telephone number

of the person.

                   DOCUMENT PRODUCTION DELIVERY STANDARDS

1.     Reddit shall produce electronic documents in the following format:

       (i)       De-Duplication: All responsive materials Documents will be globally de-duplicated
                 throughout the case based on hash values.

       (ii)      Image Format: Group IV B&W single-page TIFF.

       (iii)     Extracted Text Format: Document-level text files. (Extended ASCII or Unicode if
                 foreign language characters present).

       (iv)      File Naming: Each image and extracted text file should be named with the
                 beginning Bates number of the document, preferably not Including prefix (see
                 Proposed Directory Structure below).

       (v)       Directory Structure: Images and text files to be stored in separate directories. The
                 image files will contain up to 2000 images per folder and the text files will contain
                 up to 50,000 files per folder. The folder structure will be as follows:

                        IMAGES
                        TEXT
                        NATIVES
                        DATA

       (vi)      Additional requirements are as follows:




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                                Image Requirements
Resolution                              300 dpi
Image Shrinkage                         Bates stamp (e.g. TEST 00000001) should be
                                        applied in the bottom .5 inch of the image. Canvas
                                        should be 8.5" x 11" for all documents.
Requirements                            For spreadsheet files, provide a one-page TIFF
                                        placeholder (see also Native File Requirements
                                        below). OCR TIFF Image and
                                        non-searchable PDF files.


                          Loadfile/xref: File Requirements
Load File Type                            LFP or OPT
Load File format                          ASCII text file
Data File Format                          .DAT file
Delimiters                                Comma        ¶    ASCII character 020
                                          Quote         þ   ASCII character 254
                                          Newline      ® ASCII character 174
                                          Multi-value ;     ASCII character 059
Field Test                                See Metadata Field List below. The first line of
                                          each load file must contain the field names.


                              Native File Requirements
File Types                                The following file types should be delivered in
                                          native format unless otherwise specified:
                                          Spreadsheet files (e.g. Excel, .csv); Emails (e.g.,
                                          .msg, .pst, .mbox); and Word Processing files (e.g.,
                                          .doc, .docx, .wp).
Spreadsheet Data                          A one-page (one Bates iteration) TIFF placeholder
                                          sheet should accompany the native file version of
                                          Spreadsheet files.
Sample Placeholder Page                   <<Type of File>>- Delivered as Native File e.g.
                                          "Excel Spreadsheet-Delivered as Native File"
Extracted Text                            Full extracted text of the native file should be
                                          provided in a separate file as if the file had been
                                          processed to TIFF. Do not provide the Placeholder
                                          Page text in the extracted text.
File Naming                               Each native file is named with the beginning Bates
                                          number of the document (see Bates requirements
                                          above), preferably not including the prefix.
Directory Structure                       Native Files should be stored in a separate directory
                                          named “Natives". The path to the native data should
                                          be iterated in the load file in the Native Path field.
                                          The subdirectory structure within this folder should
                                          follow the same structure for Images noted above.


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                                    Metadata Field List
For documents that originated as ESI, please use the following fields in the metadata load file:

• Beginning Bates Number (with prefix)
• Ending Bates Number (with prefix)
• Beginning Family Range Bates Number
• Ending Family Range Bates Number
• Doc_Type (email, attachment, loose file)
• Page Count
• File Extension
• File Size
• Sourcefolder (The full path information for email, attachments and application files beginning
with the original source folder name)
• Application (The name of the application that generated the native file)
• Subject (Subject or Re line for emails)
• Title (Title field for application files)
• TO (Addressees—email only)
• FROM (Recipients—email only)
• CC (Cc field—email only)
• BCC (Bcc field—email only)
• Custodian (name of the person, department or business unit from which a collection of email
or application files originate)
• Author (name of the author or the creator of an application file)
• Date Created
• Date Last Modified
• Date Sent (email only—accuracy to days)
• Time Sent (email only—accuracy to seconds)
• Date Received (email only—accuracy to days)
• Time Received (email only ---accuracy to seconds)
• System Date Created
• System Date Modified
• System Date Accessed
• System Previous Versions




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                                DOCUMENT REQUESTS

1.   All non-content documents, communications, and information that constitute basic
     subscriber information for the owner(s) of the Handle, including, but not limited to,
     name(s), street/mailing address(s), email address(es), IP logs, username(s) or other
     subscriber identity, payment information, billing information, or any other information that
     is related or could be used to identify the owner(s) of the Handle.




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          EXHIBIT 1 TO SUBPOENA




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                                    UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA

    RICCARDO SILVA,
              Plaintiff,
    vs.
    JOHN DOE 1 (OWNER(S) OF WEBSITE
    SOSSILVA.ORG);                                                                 Case No.: 1:22-cv-24262-RKA

    JOHN DOE 2 (OWNER(S) OF REDDIT
    USERNAME @SOSILVA7);

    JOHN DOE 3 (OWNER(S) OF TWITTER
    HANDLE @SOSSILVA7);

    JOHN DOE 4;

    MOBILE BILLBOARDS, INC.,

              Defendants.


                                                            COMPLAINT

            Plaintiff Riccardo Silva (“Silva”), hereby sues Defendants John Doe 1, John Doe 2, John

   Doe 3, and John Doe 4, all of whom may be a single person or may be more than one person (the

   “John Doe Defendant(s)”), and Mobile Billboards, Inc. (the “Mobile Billboard Defendant,” and

   together with the John Doe Defendant(s), the “Defendants”) and alleges:


                                                             INTRODUCTION

            1.         This case involves a defamatory campaign waged by the John Doe Defendant(s),

   with the assistance of the Mobile Billboard Defendant, against Mr. Silva, a successful

   businessman, a philanthropist, and a devoted husband and father, which campaign was designed

   to damage Mr. Silva both personally and professionally by publishing false and outrageous

   accusations of criminality against him.



     Greenberg Traurig, P.A.  333 S.E. 2nd Avenue, Suite 4400  Miami, Florida 33131  Tel 305.579.0500  Fax 305.579.0717  www.gtlaw.com
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            2.         The purpose of this defamatory campaign is unknown to Mr. Silva, as the John Doe

   Defendants have hidden their identity or identities, but the campaign was designed to cause—and

   has in fact caused—grave damage to Mr. Silva and his family.

            3.         Indeed, the Defendants sent a mobile billboard around South Miami Beach during

   the weekend of Miami Art Basel featuring a large photo of Mr. Silva’s face with text knowingly

   falsely accusing Mr. Silva of being a “predator.” Mr. Silva was in Miami at the time with his wife

   and children, and his seventeen-year-old son saw the billboard. This has, not surprisingly, caused

   devastation to Mr. Silva and his family.

            4.         The mobile billboard directed viewers’ attention to Twitter and Reddit pages,

   created by the John Doe Defendant(s), which contain additional knowingly false and defamatory

   statements. The John Doe Defendant(s) have also created a website that includes still more

   knowingly false and defamatory statements and accusations against Mr. Silva.

            5.         The Defendants have caused and are continuing to cause grave damage to Mr. Silva

   by publishing this knowingly false and defamatory material accusing Mr. Silva of criminal and

   deviant conduct. Mr. Silva and his family are in fear of their safety and security as a result of the

   Defendants’ harassment and defamatory campaign.

                                               JURISDICTION AND VENUE

            6.         The Court has subject matter jurisdiction over this case because the amount of

   damages sought by Mr. Silva, exclusive of any attorney’s fees, costs, and expenses, exceeds

   $75,000.

            7.         This Court has personal jurisdiction over each of the Defendants in that, at all

   relevant times, they (a) resided in Florida and/or (b) committed tortious acts in Florida.

            8.         Venue is proper in this District under 28 U.S.C. §§ 1391(b)(1) and/or 1391(b)(2)


                                                                       2
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   because at least one of the Defendants reside in this District and all Defendants are residents of

   Florida, and/or because a substantial part of the events giving rise to the below claims occurred in

   this District.

                                                           THE PARTIES

            9.         Mr. Silva is an individual whose domicile is London, United Kingdom. Mr. Silva

   owns a condominium in South Miami Beach.

            10.        Defendant John Doe 1 is the owner of the website sossilva.org. Upon information

   and belief, John Doe 1 resides in the State of Florida. John Doe 1 committed the tortious acts

   described herein in the State of Florida. Notably, as the allegations infra show, John Doe 1 may

   be one or more individuals and may be the same individual as John Doe 2, 3, or 4.

            11.        Defendant John Doe 2 is the owner of the Reddit username @SOSilva7. Upon

   information and belief, John Doe 2 resides in the State of Florida. John Doe 2 committed the

   tortious acts described herein in the State of Florida. Notably, as the allegations infra show, John

   Doe 2 may be one or more individuals and may be the same individual as John Doe 1, 3, or 4.

            12.        Defendant John Doe 3 is the owner of the Twitter handle @SOSSilva7. Upon

   information and belief, John Doe 3 resides in the State of Florida. John Doe 3 committed the

   tortious acts described herein in the State of Florida. Notably, as the allegations infra show, John

   Doe 3 may be one or more individuals and may be the same individual as John Doe 1, 2 or 4.

            13.        Defendant John Doe 4 is the individual who hired the billboard from the Mobile

   Billboard Defendant. Upon information and belief, John Doe 4 resides in the State of Florida. John

   Doe 4 committed the tortious acts described herein in the State of Florida. Notably, as the

   allegations infra show, John Doe 4 may be one or more individuals and may be the same individual

   as John Doe 1, 2, or 3.

            14.        The Mobile Billboard Defendant is a Florida corporation with principal offices in
                                                     3
     Greenberg Traurig, P.A.  333 S.E. 2nd Avenue, Suite 4400  Miami, Florida 33131  Tel 305.579.0500  Fax 305.579.0717  www.gtlaw.com
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   Parrish, Florida, and is duly authorized to conduct business in the State of Florida. The Mobile

   Billboard Defendant offers mobile billboard services—i.e., a billboard that is placed on the rear of

   a motor vehicle and is observable by other motorists and pedestrians. The Mobile Billboard

   Defendant committed the tortious acts described herein in the State of Florida.

                                                 FACTUAL BACKGROUND

            15.        Mr. Silva is a husband, a father, and a renowned businessman and investor. He

   owns the investment company, Silva International Investments, an investment company that

   manages and invests in various sectors—media, technology, sports, entertainment, the arts, and

   real estate, to name a few. He also owns the model and talent agency, Select Model Management.

   In addition, he is the president and co-owner of the American professional soccer team, Miami FC,

   and an investor in and co-owner of AC Milan, one of the most successful soccer teams in the

   world.

            16.        Mr. Silva is a devoted philanthropist, as well. He donates substantial time and

   money to various causes. He has made significant donations across a range of projects in Europe,

   Africa, and the United States (particularly, Miami, Florida), including to Florida International

   University (“FIU”), Mount Sinai Medical Center, Gulliver Schools, St. Stephen’s Episcopal Day

   School, the Bass Museum of Art, the New World Symphony, Play for Change, The Foundation

   for AIDS Research, Elton John AIDS Foundation, the Novak Djokovic Foundation, Movimiento

   Shalom, and the Bali Street Kids Project. In recognition of Mr. Silva’s contributions to FIU and,

   more generally, to the city of Miami, FIU named its football and soccer stadium—Riccardo Silva

   Stadium—after him.

            17.        Mr. Silva is an upstanding, law-abiding citizen. And yet, to his shock, the

   Defendants have recently set forth a damaging campaign against him, designed to damage him


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   personally and professionally by accusing him of conduct that is categorially false. Specifically,

   the Defendants have falsely accused Mr. Silva of serial sexual abuse and sexual harassment,

   bribery, and other falsely alleged conduct. Outrageously, the Defendants have falsely compared

   Mr. Silva to the likes of Jeffrey Epstein.

            18.        Each and every one of these accusations against Mr. Silva is knowingly false—

   fabricated by the Defendants to damage and destroy Mr. Silva’s personal and professional life.

            19.        Mr. Silva seeks compensatory and punitive damages resulting from the harm that

   the Defendants’ defamatory campaign has caused him and will continue to cause him.

                                                              The Website

            20.        John Doe 1 created the website sossilva.org (the “Website”) on September 8, 2022.

            21.        The Website contains only the following accusations:




            22.        Each and every one of these accusations made by John Doe 1 on the Website against

   Mr. Silva is knowingly false, defamatory, and extreme and outrageous.

                                                      The Reddit Campaign

            23.        John Doe 2 created the Reddit username u/SOSilva7 on September 8, 2022—the

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   same day the Website was created.

            24.        Throughout October 2022, u/SOSilva7 made the following post (the “Reddit

   Posts”) across several Reddit forums, including r/NYC, r/Miami, r/Florida, r/Chicago, r/Illinois,

   r/London, r/metoo, r/Modeling, r/sexualassault, r/TwoXChromosomes, r/abusesurvivors,

   r/emotionalabuse. Together, there are roughly 16.1 million members in these Reddit forums:

            “TW- my story of abuse and harassment.

            Hello All,

            I was in the industry for years and left after the incident I’ve described below.
            Currently, my goal is to make aspiring models and others interested in the industry
            aware that this behavior occurs and is far more commonplace than most think.
            Everything here happened to me and unfortunately was experienced by several
            people.

            A few years ago, I began working with Select Model Management. They had (and
            objectively have) a decent reputation in a industry where we all pretty much realize
            it is only a matter of time until we experience something creepy, unwelcomed or
            downright horrible.

            Over the course of my work, I interacted with Riccardo Silva. He’s European
            (Italian I think) and married. Extremely wealthy. Multiple businesses and
            everything you’d expect. We were at several events together and he was always
            surrounding himself with my colleagues, other women from other agencies or just
            women in general. His vibe was . . . neutral but hostile? If that makes sense? Not a
            huge change from most in the industry, so I really just went about my work.

            Over time, I saw him at other events more frequently, we made small talk and that
            was about it. One time he touched my shoulder with unusual force, but I didn’t
            think much of it. Then he started reaching out. This was unsettling, because I
            certainly didn’t expect it and while the agency had all of my info, you don’t expect
            someone who is essentially your boss to reach out socially.

            It went from a normal, ‘hey, how are you’, and got weird immediately after. Asking
            me what I liked sexually. Telling me his body count and who specifically in our
            agency that he slept with. The ‘obvious benefits’ of me sleeping with him. My brain
            just blanked. I didn’t really respond initially. This had happened so often before at
            other places, and a quick ‘fck off!’ usually helped, but not with a person at this level
            and not there. I just didn’t know what to do.

            He kept it up, it became almost an everyday thing. I started to respond and tell him

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            this made me uncomfortable. He ignored it every time. When I saw him, he’d touch
            me and say things under his breath. If I was talking to other men, he’d interject
            himself into the conversation. All the while, he kept harassing me. I mentioned it
            to other people and they’d shrug, or nod, share their experience and tell me to stay
            as far away from him as possible. It made me physically sick. I lost weight, lost
            interest in a lot of things. One of the worst parts was seeing him present this image
            to the outside world that he was a good guy, pictures with his family playing soccer,
            art donations, etc. Meanwhile, he tormented me at the same time.

            He ramped it up and got angry. If I wouldn't sleep with him on my own, I'd ‘do it
            for money, of course’ Constant propositions, across phone, text, dm, etc. Shaming
            me. Saying he’d destroy me. Destroy my career. Shame my family, especially a
            family member that was very ill at the time. All the things I feared, however
            irrational, he pushed on and made me feel like shit. It came to a head when I saw
            him for the last time and he grabbed me so hard on my arm it left bruises. Told me
            he ‘wasn’t interested in trash like me’, that he just wanted to toy with me, that I
            wasn’t pretty enough anyway.

            I quit. Soon after, a flood of people reached out to me, sharing their experiences,
            which were identical to my own in some cases, and far, far, far worse in others. He
            harassed, intimidated, and violently abused several women. He abused his position
            of power to abuse others.

            My life was pretty beautiful, and it still is, but despite therapy and wonderful family
            and friends, Riccardo’s harassment and abuse changed who I am, and how I interact
            with people in every part of my life.

            It made me harder, but I’m determined to use that to help others. To make people
            like him know that they can't treat people like that and to call that abuse out for
            others.

            If you have experienced anything like this, I send you strength and love. Thank you
            all for reading.”

            25.        In December 2022, John Doe 2 created and assigned itself as the moderator of the

   Reddit forum r/SOSSilvaSurvivors (the “Reddit Forum”).

            26.        In the Reddit Forum, u/SOSilva7 made the following post:




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            27.        Each and every one of these accusations made by John Doe 2 on Reddit against Mr.

   Silva is knowingly false, defamatory, and extreme and outrageous.

                                                      The Twitter Campaign

            28.        In September 2022, John Doe 3 created the Twitter account @SOSSilva7, which is

   based out of Miami, Florida, as the account’s Twitter page shows.                                         The biography reads:

   “Survivors Of Silva- The survivors of sexual violence and intimidation at the hands of Riccardo

   Silva of Select Model Management/Silva International Investments”:




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            29.        On December 3, 2022, John Doe 3 posted a five-tweet thread, tagging media

   entities, such as the Miami Herald, Miami New Times, and Miami Beach News, along with the

   Twitter account for the international arts festival, Art Basel, which is located in Miami, Florida.

   The thread contained similar defamatory and false accusations to those made by John Doe 1 on

   the Website and by John Doe 2 on Reddit:




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            30.        Like the false accusations against Mr. Silva on the Website and on Reddit, John

   Doe 3’s accusations of grotesque conduct against Mr. Silva on Twitter are knowingly false,

   defamatory, and extreme and outrageous.

                                              The Mobile Billboard Campaign

            31.        In or around December 2, 2022, Defendant John Doe 4 purchased a mobile

   billboard (the “Billboard”) from the Mobile Billboard Defendant.

            32.        Defendant John Doe 4 hired the Mobile Billboard Defendant to drive around the

   location of Mr. Silva’s condominium he owns in South Miami Beach on Saturday, December 3,

   2022, which was the weekend of Miami Art Basel, one of the busiest weekends of the year in

   Miami Beach.
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            33.        On the Billboard, the Defendants falsely accused Mr. Silva of being a “predator on

   the loose in Miami.” Observers of the Billboard are further directed to the above-referenced

   Twitter handle, @SOSSilva7, and Reddit Forum, r/SOSSilvaSurvivors:




            34.        The Defendants’ accusation that Mr. Silva is a “predator” is knowingly false,

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   defamatory, and extreme and outrageous. And, as alleged supra, the accusations against him on

   Twitter and Reddit are knowingly false, defamatory, and extreme and outrageous.

            35.        The Mobile Billboard Defendant knew or should have known the accusations

   against him were false or, at least, the Mobile Billboard Defendant recklessly disregarded the

   falsity of the accusations.

            36.        Mr. Silva’s seventeen-year-old son witnessed the truck driving around the

   neighborhood of Mr. Silva’s South Beach condo. He was devasted to see his father portrayed in

   this way. This has caused extreme emotional distress to Mr. Silva and his family.

            37.        Mr. Silva has suffered damages as a result of the Defendants’ knowingly false,

   defamatory, extreme and outrageous, and injurious campaign against him. In particular, Mr. Silva

   has suffered, and will continue to suffer, monetary damages, including in connection with his

   reputation and business interests, and severe emotional distress. In addition, Mr. Silva fears for

   his and his family’s safety and security, given the defamatory and harassing campaign against him.

            38.        All conditions precedent to the maintenance of this action have occurred, been

   performed, complied with, or waived.

                                           COUNT I: DEFAMATION (LIBEL)
                                               (Against All Defendants)

            39.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 38 above.

            40.        The Defendants published to millions of third parties knowingly false, defamatory

   statements of and concerning Mr. Silva on the Website, Twitter, Reddit, and the Billboard, as

   outlined supra.

            41.        The Defendants knew that said statements of and concerning Mr. Silva were false,

   recklessly disregarded the falsity of said statements, and/or were negligent as to the falsity of said

   statements.

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            42.        As a result of the Defendants’ wide publication of the above false statements, Mr.

   Silva has suffered damages, including without limitation, monetarily, to his reputation, and to his

   business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

                                    COUNT II: DEFAMATION (LIBEL) PER SE
                                            (Against All Defendants)

            43.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 42 above.

            44.        The Defendants published to millions of third parties knowingly false, defamatory

   statements of and concerning Mr. Silva on the Website, Twitter, Reddit, and the Billboard, as

   outlined supra.

            45.        Those false, defamatory statements charged that Mr. Silva committed infamous

   crimes and/or felonies, including without limitation, sex crimes and bribery. In addition, the false,

   defamatory statements subject Mr. Silva to hatred, distrust, ridicule, contempt, and/or disgrace.

   Finally, the false, defamatory statements harm Mr. Silva in his many business ventures articulated

   supra.

            46.        Accordingly, Mr. Silva has suffered damages, including without limitation,

   monetarily, to his reputation, and to his business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.




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                          COUNT III: DEFAMATION (LIBEL) BY IMPLICATION
                                        (Against All Defendants)

            47.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 46 above.

            48.        Mr. Silva asserts Count III in the alternative to Counts I and II.

            49.        To the extent that one or more of the Defendants’ statements on the Website,

   Twitter, Reddit, and/or the Billboard, which were published to millions of people, are determined

   to be true, all resulting suggestions, impressions, and/or implications that Mr. Silva engaged in any

   criminal or deviant misconduct are false.

            50.        The false suggestions, impressions, and/or implications that Mr. Silva engaged in

   any criminal or deviant misconduct have caused serious harm to Mr. Silva.

            51.        Accordingly, Mr. Silva has suffered damages, including without limitation,

   monetarily, to his reputation, and to his business interests.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

              COUNT IV: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                (Against All Defendants)

            52.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 51 above.

            53.        The Defendants engaged in extreme and outrageous conduct, including without

   limitation, by setting forth an internet and billboard campaign to falsely accuse Mr. Silva of

   heinous, criminal conduct—being compared to the likes of Jeffrey Epstein. Engaging in a

   campaign to publish knowingly false and defamatory accusations of the most grotesque order goes

   beyond all possible bounds of decency and such ruthless attacks are intolerable in a civilized

   society.


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            54.        The Defendants engaged in such extreme and outrageous conduct with the intent to

   ruin Mr. Silva’s personal and professional life, and thus to cause him severe emotional distress.

            55.        At the very least, the Defendants’ extreme and outrageous conduct was done with

   reckless disregard to the probability of causing Mr. Silva severe emotional distress.

            56.        Mr. Silva has suffered severe emotional distress, and will continue to suffer severe

   emotional distress, as a result of the Defendants’ extreme and outrageous conduct. In addition, the

   mobile billboard was seen by Mr. Silva’s seventeen-year-old son, a likely, and indeed intended,

   consequence of having the mobile billboard driven outside of Mr. Silva’s condominium. Mr.

   Silva’s son was extremely distraught by what he saw, which has caused Mr. Silva severe emotional

   distress at the damage this defamatory publication has inflicted on his entire family.

            WHEREFORE, Mr. Silva demands judgment against the Defendants for money damages,

   pre- and post-judgment interest, and such other relief as the Court deems just and proper. In

   addition, Mr. Silva seeks punitive damages pursuant to Fla. Stat. § 768.72.

                  COUNT V: INJUNCTION – STALKING, § 784.0485(1), FLA. STAT.
                                  (Against All Defendants)

            57.        Mr. Silva incorporates as if fully set forth herein paragraphs 1 through 56 above.

            58.        The Defendants have willfully, maliciously, and repeatedly harassed Mr. Silva

   through their harassment and defamatory campaign against him, both online and in person.

            59.        Mr. Silva has suffered severe emotional distress, and will continue to suffer severe

   emotional distress, as a result of the Defendants’ campaign. In addition, Mr. Silva and his family

   have suffered from grave concerns to their safety and security as a result of the Defendants’

   harassment and defamatory campaign.

            60.        The Defendants’ harassment and defamatory campaign serves no legitimate

   purpose, as it is based on knowing falsehoods.

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            61.        Mr. Silva has a clear legal right to not be harassed and defamed in violation of the

   law.

            62.        There is no adequate remedy at law for the further violation of this right,

   necessitating this Court’s intervention to enjoin the Defendants from continuing their campaign.

            63.        Should the Court fail to permanently enjoin the Defendants from continuing their

   campaign, Mr. Silva will continue to suffer severe emotional distress and he and his family will

   continue to be in grave fear for their safety and security.

            WHEREFORE, Mr. Silva demands an order permanently enjoining the Defendants from

   continuing their harassment and defamatory campaign, and such other relief as the Court deems

   just and proper.



            Dated: January 4, 2023                                Respectfully submitted,

                                                                  By: /s/ Joshua M. Mandel

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                                                                  Miami, Florida 33131
                                                                  Telephone: (305) 579-0570
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                                                                  FLService@gtlaw.com

                                                                  Counsel for Plaintiff Riccardo Silva


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            EXHIBIT 7
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From:                      Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent:                      Tuesday, April 4, 2023 8:53 AM
To:                        Adam Stolz
Subject:                   RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22-cv-24262 (S.D. Fla.)
Attachments:               2023-04-04 - Silva - Letter to counsel re amended civil subpoena - Southern District of Florida.PDF




EXTERNAL:
Adam: I’ve heard back from Reddit and this email confirms we’re good on service and that Reddit will attempt to notify
the user today via email regarding this amended subpoena, as they previously did with the original subpoena. In the
meantime, our objections are attached, and if you’re able to share information about your client’s efforts to obtain this
information from the newly identified defendants, please let me know. And just FYI, I’ll be out all next week. Thanks,
John

John Roche | Perkins Coie LLP
700 Thirteenth Street, N.W. Suite 800
Washington, DC 20005-3960
D. +1.202.434.1627
F. +1.202.654.6211
E. JRoche@perkinscoie.com




From: Roche, John K. (WDC)
Sent: Monday, April 03, 2023 11:44 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

Thanks, Adam. I’ve sent this on to Reddit and will let you know if there are any issues regarding service or notice. Best,
John

John Roche | Perkins Coie LLP
700 Thirteenth Street, N.W. Suite 800
Washington, DC 20005-3960
D. +1.202.434.1627
F. +1.202.654.6211
E. JRoche@perkinscoie.com




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Friday, March 31, 2023 8:04 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John,

                                                                  1
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Thanks again for speaking with me this morning. As discussed, attached please find a revised subpoena for your client,
Reddit, Inc. Please kindly confirm that you have received it and that you are authorized and agree to accept service on
behalf of Reddit, Inc. regarding the attached subpoena. In any event, we also arranged for hard‐copy service to Reddit as
a courtesy.

As discussed, I will follow up with more detail on my client’s the exhaustive yet unsuccessful attempts to obtain the
requested information from other sources, particularly the individuals referenced in the recent filing whom you inquired
about. In the meantime, per our conversation, please provide written confirmation that Reddit has provided the
user/subscriber of the subject Handle with notice of the initial subpoena and will do so for the attached subpoena as
well.

Thanks again for your time today. Happy to set up another call if you have any questions or would like to further discuss.

My best,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com




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Miami, Florida 33131
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Friday, March 31, 2023 11:13 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: I can be reached on my office line below. Thanks, John

John Roche | Perkins Coie LLP
700 Thirteenth Street, N.W. Suite 800
Washington, DC 20005-3960
D. +1.202.434.1627
F. +1.202.654.6211
E. JRoche@perkinscoie.com




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Friday, March 31, 2023 11:11 AM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John: Thanks for promptly getting back to me. I will call you around 1:00 PM. Let me know the best contact number to
reach you. Talk soon.


                                                                2
                  Case 4:23-mc-80119-KAW Document 1-1 Filed 04/19/23 Page 100 of 123

Adam Stolz
Attorney
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Friday, March 31, 2023 10:29 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: I’m available today until 1:30 and then again from 2:30‐3:30 if you have any time in those windows. Thanks, John

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E. JRoche@perkinscoie.com




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Thursday, March 30, 2023 8:19 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

Hey John,

Thanks for your below email. Unfortunately, we still have been unable to obtain the necessary information regarding the
defendant’s identify from another source and are constrained to renew our request that Reddit provide it. Please let me
know if you’re available this evening or tomorrow for a quick call to discuss where the parties stand and potential next
steps.

Thank you and regards,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com




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                                                                3
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Monday, March 6, 2023 1:11 PM
To: Adam Stolz <astolz@lashgoldberg.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez <chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: Thanks for your email, but Reddit must decline to waive its right under Rule 45(c) to have any subpoena list a
place of compliance within 100 miles of its San Francisco headquarters. See Ortiz v. Harrell, No. 21-14219-CIV, 2022 WL
457856, at *4 (S.D. Fla. Feb. 14, 2022) (“For non-party corporations, courts find that ‘the place of compliance’ is where a
corporation is headquartered.”).

Reddit also understands from your client’s latest filing (Dkt. No. 23, ¶¶ 7-8) that he’s identified at least two individuals and
a company as additional defendants allegedly involved in the conduct at issue, so we assume you will direct any
discovery about the Reddit account to those parties before seeking discovery from Reddit. See Rich v. Butowsky, No. 20-
mc-80081-DMR, 2020 WL 5910069, at *4 (N.D. Cal. Oct. 6, 2020) (a party seeking to establish that “non-party disclosure
is . . . appropriate in the exceptional case where the compelling need for the discovery sought outweighs the First
Amendment rights of the anonymous speaker” must show, inter alia, that the information “is unavailable from any other
source.”); Realtime Data, LLC v. MetroPCS Texas, LLC, No. C 12–80130, 2012 WL 3727304, at *2 (N.D. Cal. Aug. 28,
2012) (“[Plaintiff] has not demonstrated exactly what additional documents it requires beyond those it has secured or
should have secured from [Defendant].”).

Best, John

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E. JRoche@perkinscoie.com




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Wednesday, March 01, 2023 4:26 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez <chernandez@lashgoldberg.com>
Subject: FW: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John:

Thank you very much for your email on Monday explaining Reddit’s updated position. As an initial matter, the court has
already re‐opened the case and lifted the stay, which I trust takes care of your concerns to that end.

Next, to clarify the assumption in your email about Mobile Billboards, it is unfortunately not the case that Mobile
Billboards has been able to provide any further discovery, let alone any that would be germane to the limited
information we respectfully seek from Reddit. The limited discovery requested from Reddit remains as necessary as
ever in this case so that the proper defendant(s) may be identified, served, and given an opportunity to participate in
the litigation.

Finally, in response to the remainder of your email, please kindly confirm that Reddit is agreeable to the following
approach to resolving its other objections and satisfying the subpoena as a practical matter:
                                                               4
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    1. Plaintiff will issue an amended subpoena duces tecum that (a) identifies the subpoena’s place of compliance as
       an email production to Adam Stolz at astolz@lashgoldberg.com; (b) narrows the scope of documents and
       information requested to “non‐content basic subscriber information as enumerated by 18 U.S.C. § 2703(c)(2) for
       the owner(s) of the Handle”; and (c) omits any request for deposition testimony at the present time (although,
       as you noted, Plaintiff would reserve the right to issue a subsequent subpoena to Reddit for deposition if
       Plaintiff later determines it’s necessary, for which Reddit would reserve the right to object).

    2. Plaintiff will file a motion with the court that is currently overseeing the litigation in Case No. 1:22‐cv‐24262 (S.D.
       Fla.) for an order finding that Plaintiff’s proposed discovery sought from Reddit satisfies the First Amendment
       standards enumerated in Reddit’s attached objection letter dated February 15, 2023 (the “Motion”); in turn,
       Reddit consents to the jurisdiction and venue of the court currently overseeing the litigation in Case No. 1:22‐cv‐
       24262 (S.D. Fla.) for the purpose of the aforementioned Motion regarding the First Amendment standards.

            a. Plaintiff agrees to gratuitously provide Reddit with a courtesy copy of the Motion for Reddit to use in
               attempting to satisfy any “user‐notice requirement.”

    3. If the court issues an order finding that Plaintiff’s proposed discovery sought from Reddit satisfies the First
       Amendment standards enumerated in Reddit’s attached objection letter, Reddit agrees to produce the basic
       subscriber information (or “BSI”) for the Handle within fourteen (14) days of the court’s order.

If the above proposal is acceptable, we will begin preparing an amended subpoena and the Motion. I would be happy to
send you a draft of the motion before filing it to discuss Reddit’s position and try to remain on the same page as much as
possible. Once again, I very much appreciate your cooperation and candor in this process. This is an extremely serious
and important case for my client and the information we are seeking is truly necessary for the just and fair
administration of the litigation.

Best regards,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com




Miami Tower
100 SE 2nd St., Ste. 1200
Miami, Florida 33131
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Monday, February 27, 2023 11:16 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez <chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: It was nice speaking with you too and thanks for rescheduling the deposition to a future date if you later determine
it’s still necessary.

I checked the docket this morning and noticed that over the weekend the Court closed and stayed this case based on the
representations in Mobile Billboards’ latest filing seeking an extension to April 14 for its responsive pleadings. I trust those

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representations mean Mobile Billboards has found that it can actually provide the discovery your client seeks regarding
the identity of its customer and that discovery from Reddit may prove unnecessary.

If that’s not the case, Reddit must stand on its objections to the subpoena, particularly now that the case is stayed. If you
wish to proceed with discovery from Reddit, I think as a practical matter that means the following:

     1. Plaintiff will need to get the S.D. Fla. Court to lift the stay, at least for purposes of seeking discovery from service
        providers who Plaintiff believes may have non-content identifying information for the Doe defendant(s).

     2. As for Reddit’s objections, Plaintiff will need a court to find that any proposed discovery from Reddit satisfies the
        First Amendment standards enumerated in Reddit’s February 15th objections. It’s possible that any motion you
        may file to lift the stay in S.D. Fla. could include a request that the Court make the First Amendment findings in
        authorizing discovery, though Reddit reserves the right to insist that any of its objections be resolved in N.D. Cal.
        under FRCP 45(d)(2)(B)(i) or 45(d)(3)(A) if it perceives any deficiencies resulting from the proceedings in S.D.
        Fla. or in any resulting subpoena. In that regard, if Plaintiff asks the S.D. Fla. Court to make the First Amendment
        findings in lifting the stay to permit discovery from service providers, please provide me with a courtesy copy of
        any papers you file so I can ask Reddit if it’s able to attempt to help satisfy the user-notice requirement. See In re
        DMCA § 512(h) Subpoena to Twitter, Inc., No. 20-mc-80214-VC, 2022 WL 2205476, at *3 (N.D. Cal. June 21,
        2022) (in resolving a discovery request that would reveal the identity of an anonymous speaker, a court should,
        inter alia, “notify the speaker and provide them with an opportunity to (anonymously) defend their anonymity”).

     3. If the S.D. Fla. Court lifts the stay and permits discovery to proceed, Plaintiff will need to issue an amended
        subpoena duces tecum that resolves Reddit’s objection as to the place of compliance being in Tallahasee and its
        objection as to the vague scope of the request.

               o     As a practical matter, those objections can be resolved by identifying (A) the subpoena’s place of
                     compliance as Reddit’s headquarters at “Reddit, Inc. 1455 Market Street, Suite 1600, San Francisco, CA
                     94103 or alternatively via email production to Adam Stolz at astolz@lashgoldberg.com”; and (B) the
                     scope of documents requested as “Non-content basic subscriber information as enumerated by 18 U.S.C.
                     § 2703(c)(2) for the owner(s) of the Handle.”

     4. Reddit’s objection as to deposition testimony can be resolved by simply omitting any request for deposition
        testimony in an amended subpoena, with the understanding that you reserve the right to issue a deposition
        subpoena later if your client determines it’s necessary and Reddit reserves the right to object to any later
        deposition subpoena.

Best, John

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F. +1.202.654.6211
E. JRoche@perkinscoie.com




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Thursday, February 23, 2023 2:10 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez <chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John:

It was nice speaking with you last week. As discussed, please let me know whether Reddit is willing to reconsider its
position and provide us with the BSI for the Handle in full satisfaction of the attached Subpoena. Once again, we have no
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other way of obtaining the information and require it for the limited purposes of service and identification so the proper
individual(s) can appear before the court and participate in the litigation.

In the meantime, given that the Subpoena sets the deposition duces tecum for February 27, 2023, you may consider it
rescheduled until we agree on a future date and time if one is still necessary in light of our recent conversation. To
clarify, while we remain very hopeful that we can mutually resolve the matter, we nevertheless reserve the right to take
the deposition duces tecum at a date and time in the future.

I look forward to hearing back from you soon.

Thank you and regards,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com




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Miami, Florida 33131
www.lashgoldberg.com


From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Friday, February 17, 2023 11:31 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez <chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: Sure thing – does 2:00 work for you? If so, the best way to reach me today is on my cell (703‐220‐7762). Thanks,
John

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700 Thirteenth Street, N.W. Suite 800
Washington, DC 20005-3960
D. +1.202.434.1627
F. +1.202.654.6211
E. JRoche@perkinscoie.com




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Friday, February 17, 2023 11:09 AM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez <chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

Hey John,



                                                            7
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Nice to meet you. We are in receipt of your letter dated Feb. 15, 2023. We appreciate you taking the time to promptly
provide Reddit’s views on the subpoena in the above‐referenced matter. Are you available today for a short call to
discuss? If so, please let me know a convenient time and contact number.

Thank you,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com




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100 SE 2nd St., Ste. 1200
Miami, Florida 33131
www.lashgoldberg.com


From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Wednesday, February 15, 2023 9:43 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: We represent Reddit, Inc. Please see attached regarding the subpoena Reddit received in the above‐referenced
matter and please contact me if you’d like to discuss. Best, John

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immediately delete the message and any attachments without copying or disclosing the contents. Thank you.


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ATTACHMENT TO EMAIL
      Case 4:23-mc-80119-KAW Document 1-1 Filed 04/19/23 Page 108 of 123




April 4, 2023                                                                             John K. Roche
                                                                                  JRoche@perkinscoie.com
                                                                                     D. +1.202.434.1627
                                                                                     F. +1.202.654.6211

VIA EMAIL

Adam J. Stolz
Lash Goldberg
Miami Tower
100 Southeast 2nd Street, Suite 1200
Miami, FL 33131
305-347-4040
astolz@lashgoldberg.com

Re:    Amended Subpoena to Reddit, Inc.
       Silva v. Mobile Billboard, Inc., et al., No. 1:22-cv-24262 (S.D. Fla.)

Dear Adam:

We represent Reddit, Inc. (“Reddit”) and write regarding the amended subpoena issued to Reddit
in the above-referenced matter. Reddit objects to the subpoena in its entirety for the reasons
below.

First, the requests for “communications” and “any other information that is related or could be
used to identify the owner(s) of the” subject account are vague, overbroad, and violate the
federal Stored Communications Act (“SCA”), 18 U.S.C. § 2702, to the extent they seek the
contents of any communications. See Suzlon Energy Ltd. v. Microsoft Corp., 671 F.3d 726, 730
(9th Cir. 2011) (litigants may not obtain the content of communications with a civil discovery
demand because it would “invade[] the specific interests that the [SCA] seeks to protect.”);
Classic Soft Trim, Inc. v. Albert, No. 618CV1237ORL78GJK, 2020 WL 6749836, at *3 (M.D.
Fla. Sept. 21, 2020) (“a provider may not disclose the content of electronic communications
pursuant to a civil subpoena”). The most Reddit could produce in response to the amended
subpoena is basic subscriber information (“BSI”) as enumerated by the SCA, 18 U.S.C. §
2703(c)(2).

Second, the amended subpoena implicates the First Amendment right to anonymous speech and
is therefore premature to the extent it seeks BSI for purposes of identifying the speaker. See In re
DMCA § 512(h) Subpoena to Twitter, Inc., No. 20-mc-80214-VC, 2022 WL 2205476, at *2
(N.D. Cal. June 21, 2022) (“the ability to speak anonymously on the Internet promotes the robust
exchange of ideas and allows individuals to express themselves freely without ‘fear of economic
or official retaliation ... [or] concern about social ostracism.’”) (quoting In re Anonymous Online
Speakers, 661 F.3d 1168, 1173 (9th Cir. 2011)). “[W]hen adjudicating a subpoena or other
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request for compelled disclosure that would reveal the identity of an anonymous speaker, a court
should (1) notify the speaker and provide them with an opportunity to (anonymously) defend
their anonymity; (2) require the party seeking disclosure to make a prima facie showing on the
merits of their claim; and (3) balance the equities, weighing the potential harm to the party
seeking disclosure against the speaker’s interest in anonymity, in light of the strength of the
underlying claim.” In re DMCA § 512(h) Subpoena to Twitter, Inc., 2022 WL 2205476, at *3.
An additional relevant factor is whether the identifying information “is unavailable from any
other source.” Rich v. Butowsky, No. 20-mc-80081-DMR, 2020 WL 5910069, at *4 (N.D. Cal.
Oct. 6, 2020). We understand your client has identified at least two individuals and a company
that are allegedly “involved in—and believed to be spearheading—the defamation campaign
against” him, and that he intends to name them as defendants. See Dkt. No. 23, ¶¶ 7-8. Plaintiff
may therefore be able to obtain identifying information about the person behind this alleged
scheme from those new defendants and plaintiff should exhaust discovery from them before
seeking discovery from Reddit. See Realtime Data, LLC v. MetroPCS Texas, LLC, No. C 12–
80130, 2012 WL 3727304, at *2 (N.D. Cal. Aug. 28, 2012) (“[Plaintiff] has not demonstrated
exactly what additional documents it requires beyond those it has secured or should have secured
from [Defendant].”).

Please contact me if you have any questions or would like to discuss this matter. In the
meantime, Reddit does not waive and expressly reserves all available rights and objections.

Sincerely,




John Roche
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             EXHIBIT 8
      Case 4:23-mc-80119-KAW Document 1-1 Filed 04/19/23 Page 111 of 123




                                              April 7, 2023
Via Email
John K. Roche
Perkins Coie LLP
700 13th St. NW, Suite 800
Washington, D.C. 20005-3960
JRoche@perkinscoie.com

       Re:     Amended Subpoena to Reddit, Inc.
               Silva v. Mobile Billboard, Inc. et al., S.D. Fla. Case No. 1:22-cv-24262


Dear John:
       As you are aware, this firm represents Riccardo Silva in a limited capacity that includes
the subpoena(s) to Reddit, Inc. (“Reddit”) in connection with the above-styled action in the
Southern District of Florida. This correspondence is submitted in response to your letter dated
April 4, 2023, in which you identified and asserted several objections to the amended subpoena
that Mr. Silva issued to Reddit on Friday, March 31, 2023 (the “Subpoena”). We will address each
of Reddit’s objections in turn in the order presented in your letter.
         First, the Subpoena is not intended to seek the “contents of any communications.” To
clarify, Mr. Silva is merely seeking the basic subscriber information for the Handle as described
in the Subpoena. Second, the First Amendment does not protect the anonymous Handle owner’s
blatantly defamatory speech and we therefore maintain that Reddit is obligated to produce the
requested information pursuant to the Federal Rules of Civil Procedure. See Smythe v. Does, Case
No. 15-mc-80292-LB, 2016 WL 54125, at *2 (N.D. Cal. Jan. 5, 2016) (“Where anonymous speech
is alleged to be unlawful, the speaker’s right to remain anonymous may give way to a plaintiff's
need to discover the speaker’s identity in order to pursue its claim.”) (citation omitted).
Nevertheless, the First Amendment considerations identified in your letter are satisfied under the
unique facts and circumstances of this case. As such, Mr. Silva intends to file a motion to compel
on such grounds to the extent Reddit refuses to produce the requested information.

         Third, and finally, it is necessary to clarify the record regarding Reddit’s assertion that Mr.
Silva has not demonstrated that the requested information “is unavailable from any other source”
because of a suggestion in a prior filing (Dkt. No. 23, ¶¶ 7-8) that Mr. Silva was hoping to identify
two individuals and a company allegedly “involved in—and believed to be spearheading—the
defamation campaign against” him, and potentially name them as defendants in an amended
pleading. As I mentioned in our last couple of conversations, those prospects unfortunately turned
out to be a case of mistaken identity and the efforts did not pan out as Mr. Silva had hoped when
the filing was submitted. To provide additional context, I spoke with Mr. Silva’s primary counsel
who submitted the filing (Dkt. No. 23), and they authorized me to relay the following update to
Reddit:




                                        MIAMI 100 SE 2nd St., Ste.1200 • Miami, FL, 33131• Tel: 305.347.4040 • Fax: 305.347.4050
                                        FT. LAUDERDALE 2500 Weston Rd., Ste. 220 • Weston, FL, 33331 • Tel: 954.384.2500 • Fax: 954.384.2510
    LASHGOLDBERG.COM                    TAMPA 142 West Platt St., Ste.118 • Tampa, FL, 33606 • Tel: 813.284.4002
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Letter to John K. Roche
April 7, 2023
Page 2


       We believed we had potentially identified two people thought to be involved in the
       defamation scheme based on an identification of photographs by the Mobile
       Billboard defendant. The Mobile Billboard defendant indicated that he believed
       certain photographs provided to him were of the man who hired him to drive the
       mobile billboard with the defamatory content. The second person referenced in our
       filing was the wife of that man. We thought she may have been involved based on
       her connection to a business that competed with one of Mr. Silva’s businesses—
       hence the additional reference to a “company” we thought was potentially involved.
       Since then, and based on information we have since received, we believe that the
       mobile billboard defendant was mistaken in his identification of the man and thus,
       we do not currently believe either he, his wife, or the company are in fact involved.

        Moreover, as previously explained, the prospective information merely concerned the
identity of the “John Doe” defendant(s) who hired the mobile billboard company and would not
have weighed on the identity of the individual(s) behind the Reddit Handle in any event. Overall,
despite the profound efforts and expense to identify the anonymous defendant(s) responsible for
the carefully crafted campaign to defame Mr. Silva, we have not received any information from
any source that could reasonably shed any light on the identity of the Handle owner described in
the Subpoena. Thus, Mr. Silva is unable to obtain the requested information from another source
and has in fact exhausted attempts to obtain the discovery elsewhere before serving the Subpoena
on Reddit. I appreciate your willingness to consider the additional information and trust that the
additional context is sufficient for Reddit to revise and limit its objections solely to the core First
Amendment considerations enumerated in your letter.
       Once again, I appreciate your respectful cooperation in this matter. Please let me know if
you have any questions or would like to further discuss anything at this time.


                                                                           Very truly yours,

                                                                           LASH GOLDBERG LLP


                                                                           /s/ Adam J. Stolz
                                                                           Adam J. Stolz




                                        MIAMI 100 SE 2nd St., Ste.1200 • Miami, FL, 33131• Tel: 305.347.4040 • Fax: 305.347.4050
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From:                 Adam Stolz <astolz@lashgoldberg.com>
Sent:                 Tuesday, April 11, 2023 6:21 AM
To:                   Roche, John K. (WDC)
Subject:              RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22-cv-24262 (S.D. Fla.)


John,

Thank you very much for clarifying the revised scope of Reddit’s objection. Based on that representation, and our many
cooperative exchanges through the meet‐and‐confer process, it appears we are unable to mutually resolve Reddit’s First
Amendment objection and, as such, further conferral would be futile. Accordingly, Mr. Silva respectfully plans to file a
motion to compel addressing Reddit’s First Amendment objection.

Please continue to feel free to let me know if you have any questions or would like to further discuss.

Thank you,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com




Miami Tower
100 SE 2nd St., Ste. 1200
Miami, Florida 33131
www.lashgoldberg.com


From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Monday, April 10, 2023 11:51 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: Re: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: Based on our latest conversation and your most recent letter, I can confirm that from Reddit’s perspective any
motion to compel that your client may file in NDCA would be limited to having the Court resolve the First Amendment
issue. Best, John

John K. Roche
202‐434‐1627
jroche@perkinscoie.com


        On Apr 7, 2023, at 7:31 PM, Roche, John K. (WDC) <JRoche@perkinscoie.com> wrote:


        Thanks, Adam. I’ll pass this on to my client and be back in touch when I’ve heard from them. Best, John

        John Roche | Perkins Coie LLP
                                                                 1
        Case 4:23-mc-80119-KAW Document 1-1 Filed 04/19/23 Page 115 of 123
700 Thirteenth Street, N.W. Suite 800
Washington, DC 20005-3960
D. +1.202.434.1627
F. +1.202.654.6211
E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Friday, April 07, 2023 12:57 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John:

Thank you for your letter and for speaking with me this morning. Please see the attached
correspondence from Mr. Silva in response.

Best regards,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
<image003.png>
Miami Tower
100 SE 2nd St., Ste. 1200
Miami, Florida 33131
www.lashgoldberg.com


From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Tuesday, April 4, 2023 11:53 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: I’ve heard back from Reddit and this email confirms we’re good on service and that Reddit will
attempt to notify the user today via email regarding this amended subpoena, as they previously did with
the original subpoena. In the meantime, our objections are attached, and if you’re able to share
information about your client’s efforts to obtain this information from the newly identified defendants,
please let me know. And just FYI, I’ll be out all next week. Thanks, John

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F. +1.202.654.6211
E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Roche, John K. (WDC)
Sent: Monday, April 03, 2023 11:44 AM

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To: Adam Stolz <astolz@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

Thanks, Adam. I’ve sent this on to Reddit and will let you know if there are any issues regarding service
or notice. Best, John

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E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Friday, March 31, 2023 8:04 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John,

Thanks again for speaking with me this morning. As discussed, attached please find a revised subpoena
for your client, Reddit, Inc. Please kindly confirm that you have received it and that you are authorized
and agree to accept service on behalf of Reddit, Inc. regarding the attached subpoena. In any event, we
also arranged for hard‐copy service to Reddit as a courtesy.

As discussed, I will follow up with more detail on my client’s the exhaustive yet unsuccessful attempts to
obtain the requested information from other sources, particularly the individuals referenced in the
recent filing whom you inquired about. In the meantime, per our conversation, please provide written
confirmation that Reddit has provided the user/subscriber of the subject Handle with notice of the initial
subpoena and will do so for the attached subpoena as well.

Thanks again for your time today. Happy to set up another call if you have any questions or would like to
further discuss.

My best,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
<image003.png>
Miami Tower
100 SE 2nd St., Ste. 1200
Miami, Florida 33131
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Friday, March 31, 2023 11:13 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


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EXTERNAL:
Adam: I can be reached on my office line below. Thanks, John

John Roche | Perkins Coie LLP
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F. +1.202.654.6211
E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Friday, March 31, 2023 11:11 AM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John: Thanks for promptly getting back to me. I will call you around 1:00 PM. Let me know the best
contact number to reach you. Talk soon.

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
<image003.png>
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100 SE 2nd St., Ste. 1200
Miami, Florida 33131
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Friday, March 31, 2023 10:29 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: I’m available today until 1:30 and then again from 2:30‐3:30 if you have any time in those
windows. Thanks, John

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E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Thursday, March 30, 2023 8:19 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

Hey John,

                                                       4
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Thanks for your below email. Unfortunately, we still have been unable to obtain the necessary
information regarding the defendant’s identify from another source and are constrained to renew our
request that Reddit provide it. Please let me know if you’re available this evening or tomorrow for a
quick call to discuss where the parties stand and potential next steps.

Thank you and regards,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
<image003.png>
Miami Tower
100 SE 2nd St., Ste. 1200
Miami, Florida 33131
www.lashgoldberg.com


From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Monday, March 6, 2023 1:11 PM
To: Adam Stolz <astolz@lashgoldberg.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez
<chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: Thanks for your email, but Reddit must decline to waive its right under Rule 45(c) to have any
subpoena list a place of compliance within 100 miles of its San Francisco headquarters. See Ortiz v.
Harrell, No. 21-14219-CIV, 2022 WL 457856, at *4 (S.D. Fla. Feb. 14, 2022) (“For non-party corporations,
courts find that ‘the place of compliance’ is where a corporation is headquartered.”).

Reddit also understands from your client’s latest filing (Dkt. No. 23, ¶¶ 7-8) that he’s identified at least two
individuals and a company as additional defendants allegedly involved in the conduct at issue, so we
assume you will direct any discovery about the Reddit account to those parties before seeking discovery
from Reddit. See Rich v. Butowsky, No. 20-mc-80081-DMR, 2020 WL 5910069, at *4 (N.D. Cal. Oct. 6,
2020) (a party seeking to establish that “non-party disclosure is . . . appropriate in the exceptional case
where the compelling need for the discovery sought outweighs the First Amendment rights of the
anonymous speaker” must show, inter alia, that the information “is unavailable from any other source.”);
Realtime Data, LLC v. MetroPCS Texas, LLC, No. C 12–80130, 2012 WL 3727304, at *2 (N.D. Cal. Aug.
28, 2012) (“[Plaintiff] has not demonstrated exactly what additional documents it requires beyond those it
has secured or should have secured from [Defendant].”).

Best, John

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F. +1.202.654.6211
E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Wednesday, March 01, 2023 4:26 PM

                                                       5
        Case 4:23-mc-80119-KAW Document 1-1 Filed 04/19/23 Page 119 of 123

To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez
<chernandez@lashgoldberg.com>
Subject: FW: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John:

Thank you very much for your email on Monday explaining Reddit’s updated position. As an initial
matter, the court has already re‐opened the case and lifted the stay, which I trust takes care of your
concerns to that end.

Next, to clarify the assumption in your email about Mobile Billboards, it is unfortunately not the case
that Mobile Billboards has been able to provide any further discovery, let alone any that would be
germane to the limited information we respectfully seek from Reddit. The limited discovery requested
from Reddit remains as necessary as ever in this case so that the proper defendant(s) may be identified,
served, and given an opportunity to participate in the litigation.

Finally, in response to the remainder of your email, please kindly confirm that Reddit is agreeable to the
following approach to resolving its other objections and satisfying the subpoena as a practical matter:

    1. Plaintiff will issue an amended subpoena duces tecum that (a) identifies the subpoena’s place of
       compliance as an email production to Adam Stolz at astolz@lashgoldberg.com; (b) narrows the
       scope of documents and information requested to “non‐content basic subscriber information as
       enumerated by 18 U.S.C. § 2703(c)(2) for the owner(s) of the Handle”; and (c) omits any request
       for deposition testimony at the present time (although, as you noted, Plaintiff would reserve the
       right to issue a subsequent subpoena to Reddit for deposition if Plaintiff later determines it’s
       necessary, for which Reddit would reserve the right to object).

    2. Plaintiff will file a motion with the court that is currently overseeing the litigation in Case No.
       1:22‐cv‐24262 (S.D. Fla.) for an order finding that Plaintiff’s proposed discovery sought from
       Reddit satisfies the First Amendment standards enumerated in Reddit’s attached objection
       letter dated February 15, 2023 (the “Motion”); in turn, Reddit consents to the jurisdiction and
       venue of the court currently overseeing the litigation in Case No. 1:22‐cv‐24262 (S.D. Fla.) for
       the purpose of the aforementioned Motion regarding the First Amendment standards.

            1. Plaintiff agrees to gratuitously provide Reddit with a courtesy copy of the Motion for
               Reddit to use in attempting to satisfy any “user‐notice requirement.”

    3. If the court issues an order finding that Plaintiff’s proposed discovery sought from Reddit
       satisfies the First Amendment standards enumerated in Reddit’s attached objection letter,
       Reddit agrees to produce the basic subscriber information (or “BSI”) for the Handle within
       fourteen (14) days of the court’s order.

If the above proposal is acceptable, we will begin preparing an amended subpoena and the Motion. I
would be happy to send you a draft of the motion before filing it to discuss Reddit’s position and try to
remain on the same page as much as possible. Once again, I very much appreciate your cooperation
and candor in this process. This is an extremely serious and important case for my client and the
information we are seeking is truly necessary for the just and fair administration of the litigation.

Best regards,

Adam Stolz

                                                       6
      Case 4:23-mc-80119-KAW Document 1-1 Filed 04/19/23 Page 120 of 123
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
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100 SE 2nd St., Ste. 1200
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Monday, February 27, 2023 11:16 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez
<chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: It was nice speaking with you too and thanks for rescheduling the deposition to a future date if you
later determine it’s still necessary.

I checked the docket this morning and noticed that over the weekend the Court closed and stayed this
case based on the representations in Mobile Billboards’ latest filing seeking an extension to April 14 for its
responsive pleadings. I trust those representations mean Mobile Billboards has found that it can actually
provide the discovery your client seeks regarding the identity of its customer and that discovery from
Reddit may prove unnecessary.

If that’s not the case, Reddit must stand on its objections to the subpoena, particularly now that the case
is stayed. If you wish to proceed with discovery from Reddit, I think as a practical matter that means the
following:

    1. Plaintiff will need to get the S.D. Fla. Court to lift the stay, at least for purposes of seeking
        discovery from service providers who Plaintiff believes may have non-content identifying
        information for the Doe defendant(s).

    2. As for Reddit’s objections, Plaintiff will need a court to find that any proposed discovery from
        Reddit satisfies the First Amendment standards enumerated in Reddit’s February 15th objections.
        It’s possible that any motion you may file to lift the stay in S.D. Fla. could include a request that
        the Court make the First Amendment findings in authorizing discovery, though Reddit reserves
        the right to insist that any of its objections be resolved in N.D. Cal. under FRCP 45(d)(2)(B)(i) or
        45(d)(3)(A) if it perceives any deficiencies resulting from the proceedings in S.D. Fla. or in any
        resulting subpoena. In that regard, if Plaintiff asks the S.D. Fla. Court to make the First
        Amendment findings in lifting the stay to permit discovery from service providers, please provide
        me with a courtesy copy of any papers you file so I can ask Reddit if it’s able to attempt to help
        satisfy the user-notice requirement. See In re DMCA § 512(h) Subpoena to Twitter, Inc., No. 20-
        mc-80214-VC, 2022 WL 2205476, at *3 (N.D. Cal. June 21, 2022) (in resolving a discovery
        request that would reveal the identity of an anonymous speaker, a court should, inter alia, “notify
        the speaker and provide them with an opportunity to (anonymously) defend their anonymity”).

    3. If the S.D. Fla. Court lifts the stay and permits discovery to proceed, Plaintiff will need to issue an
        amended subpoena duces tecum that resolves Reddit’s objection as to the place of compliance
        being in Tallahasee and its objection as to the vague scope of the request.

             1. As a practical matter, those objections can be resolved by identifying (A) the subpoena’s
                 place of compliance as Reddit’s headquarters at “Reddit, Inc. 1455 Market Street, Suite
                 1600, San Francisco, CA 94103 or alternatively via email production to Adam Stolz at
                 astolz@lashgoldberg.com”; and (B) the scope of documents requested as “Non-content

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                     basic subscriber information as enumerated by 18 U.S.C. § 2703(c)(2) for the owner(s) of
                     the Handle.”

     4. Reddit’s objection as to deposition testimony can be resolved by simply omitting any request for
          deposition testimony in an amended subpoena, with the understanding that you reserve the right
          to issue a deposition subpoena later if your client determines it’s necessary and Reddit reserves
          the right to object to any later deposition subpoena.

Best, John

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F. +1.202.654.6211
E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Thursday, February 23, 2023 2:10 PM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez
<chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

John:

It was nice speaking with you last week. As discussed, please let me know whether Reddit is willing to
reconsider its position and provide us with the BSI for the Handle in full satisfaction of the attached
Subpoena. Once again, we have no other way of obtaining the information and require it for the limited
purposes of service and identification so the proper individual(s) can appear before the court and
participate in the litigation.

In the meantime, given that the Subpoena sets the deposition duces tecum for February 27, 2023, you
may consider it rescheduled until we agree on a future date and time if one is still necessary in light of
our recent conversation. To clarify, while we remain very hopeful that we can mutually resolve the
matter, we nevertheless reserve the right to take the deposition duces tecum at a date and time in the
future.

I look forward to hearing back from you soon.

Thank you and regards,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
<image003.png>
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100 SE 2nd St., Ste. 1200
Miami, Florida 33131
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                                                        8
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From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Friday, February 17, 2023 11:31 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez
<chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
Adam: Sure thing – does 2:00 work for you? If so, the best way to reach me today is on my cell (703‐220‐
7762). Thanks, John

John Roche | Perkins Coie LLP
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F. +1.202.654.6211
E. JRoche@perkinscoie.com
<image001.jpg>
<image002.png>




From: Adam Stolz <astolz@lashgoldberg.com>
Sent: Friday, February 17, 2023 11:09 AM
To: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Cc: Martin Goldberg <mgoldberg@lashgoldberg.com>; Christen Hernandez
<chernandez@lashgoldberg.com>
Subject: RE: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)

Hey John,

Nice to meet you. We are in receipt of your letter dated Feb. 15, 2023. We appreciate you taking the
time to promptly provide Reddit’s views on the subpoena in the above‐referenced matter. Are you
available today for a short call to discuss? If so, please let me know a convenient time and contact
number.

Thank you,

Adam Stolz
Attorney
T (305) 347-4040
E astolz@lashgoldberg.com
<image003.png>
Miami Tower
100 SE 2nd St., Ste. 1200
Miami, Florida 33131
www.lashgoldberg.com


From: Roche, John K. (WDC) <JRoche@perkinscoie.com>
Sent: Wednesday, February 15, 2023 9:43 AM
To: Adam Stolz <astolz@lashgoldberg.com>
Subject: Reddit / Silva v. Mobile Billboards, Inc., et al., No. 1:22‐cv‐24262 (S.D. Fla.)


EXTERNAL:
                                                       9
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          Adam: We represent Reddit, Inc. Please see attached regarding the subpoena Reddit received in the
          above‐referenced matter and please contact me if you’d like to discuss. Best, John

          John Roche | Perkins Coie LLP
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          F. +1.202.654.6211
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immediately delete the message and any attachments without copying or disclosing the contents. Thank you.




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